                                ___________________________________________                              ______________________________
                                                                                                         ______________________________
                                                                                                         __________________________




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Fill in this information to identify your case:

United States Bankruptcy Court for the:


CENTRAL DISTRICT OF CALIFORNIA


Case number (if krown)                                                              Chapter you are filing under:

                                                                                    • Chapter     7
                                                                                    U   Chapter   11
                                                                                    O   Chapter   12
                                                                                    O   Chapter   13                              0    Check       if this   is an
                                                                                                                                       amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                              12/17
The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor I and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The same person must be Debtor I in
all of the forms.

Be as complete and accurate as possible. It two married people are filing together, both are equally responsible for supplying correct information, If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


              Identify Yourself

                                      About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the    name that is on     Therese
      your government-issued          First name                                                          First name
      picture identification (for
     example, your drivers             Renee
      license or passport).                                                                               Middle
                                       Middle name                                                                  name


                                      Whitten
              your    picture
      Bring




      identification to your
                                       Last name and Suffix   (Sr., Jr., II, Ill)                         Last name and Suffix (Sr., Jr.,   II, Ill)
      meeting with the trustee.




2.    All other names you have
      used in the last 8 years
      Include your married or
      maiden names.




3.    Only the last 4 digits of
      your Social Security
      number or federal                xxx-xx-6439
      Individual Taxpayer
      Identification number
      (ITIN)




Official Form   101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 1
                                                                                                   ________________________________________
                                                                                                   ______________________________                   __________




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Debtor 1   Therese Renee Whitten                                                                      Case number   (if knowii)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      • I have not used any business name or EINs.                  D   I have not used any business name or ElNs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN5                                                          ElNs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 4617 Dockweiler Street
                                 Los Angeles, CA 90019
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Los Angeles
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2’s mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                  •      Over the last 180 days before filing this petition,    E       Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district,                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C.       1408.)                           Explain. (See 28 U.S.C. § 1408.)
                                                                  §




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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Debtor 1   Therese Renee Whitten                                                                          Case number   ((known)




I1 Tell the Court About Your Bankruptcy Case

7.    The chapter of the         Check one. (For a brief description of each, see Notice Required by 11 U.S.C.      § 342(b) for Individuals Filing for Bankruptcy
      Bankruptcy Code you are    (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      choosing to file under
                                 • Chapter 7

                                     Chapteril
                                 D Chapter 12
                                 U   Chapter 13



8.    How you will pay the fee   •       I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                          The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 1 03B) and file it with your petition.



9.    Have you filed for         • No
      bankruptcy within the
      last 8 years?              U Yes.
                                              District                                     When                         Case number
                                              District                                     When                         Case number
                                              District                                     When                         Case number



10. Are any bankruptcy           • No
    cases pending or being
    filed by a spouse who is     U Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                     When                        Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                     When                        Case number, if known



11.   Do you rent your           U No.         Go to line 12.
      residence?                                                        .          .   .



                                 • Yes         Has your landlord obtained an eviction judgment against you?

                                               •         No. Go to line 12.

                                               U         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form lOlA) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                                                                     ________________________________________________
                                                                     _________________________________________________________________




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Debtor 1             Therese Renee Whitten                                                                                                      Case number         (if known)




ITh              Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time                     • No.               Go to Part 4.
    business?
                                                  DYes.               Name and location of business
      A sole proprietorship is a
      business you operate as                                         Name of business, if any
      an individual, and is not a
      separate legal entity such
      as a corporation,
      partnership, or LLC.
                                                                      Number, Street, City, State & ZIP Code
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach
      it to this      petition.                                       Check the      appropriate   box    to   describe your business:



                                                                      Q         Health Care Business (as defined in 11 U.S.C.               §   101(27A))
                                                                                Single Asset Real Estate (as defined in 11 U.S.C.                §   101 (51 B))
                                                                      Q         Stockbroker (as defined in 11 U.S.C.          §   101(53A))
                                                                      Q         Commodity Broker (as defined in 11 U.S.C.             §   101(6))
                                                                                None of the above

13. Are you filing under                          If   you   are   filing   under   Chapter 11,   the   court   must   know whether   you   are      a   small   business   debtor   so   that it   can   set appropriate


    Chapter 11 of the                  If you indicate that you are a small business debtor, you must attach your most recent ba lance sheet, statement of
                                                  deadlines.


    Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    youasmali business      in 11 U.S.C. 1116(1)(B).
    debtor?
                            • No          I am not filing under Chapter 11.
    For a definition of           small

    business debtor, see 11
                                No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
        .
           §.
                 .
                                  .       Code.

                                                  D     Yes.          I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code


                Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.   Do you own or have any
      property that poses or is
                                                  • No
      alleged to pose a threat                    D    Yes.
      of imminent and                                              What is the hazard?
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                                          If immediate attention is
      immediate attention?                                         needed, why is it needed?

      For example,         do you own

      perishable goods,           or


      livestock that       must       be   fed,                    Where is the property?
      ora       building that needs


      urgent         repairs?


                                                                                                         Number, Street, City, State & Zip Code




Official Form 101                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                                                                   page 4
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Debtor 1    Therese Renee Whitten                                                                      Case number   (if known)


           Explain Your Efforts to Receive a Briefing About Credit Counseling
                                    About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether          You must check one:                                           You must check one:
    you have received a             • I received a briefing from an approved credit                   I received a briefing from an approved credit
    briefing about credit               counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                         filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                        certificate of completion.                                    completion.
    The law requires that you
    receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
    credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
    you file for bankruptcy.
    You must truthfully check       Q   I received a briefing from an approved credit             D   I received a briefing from an approved credit
    one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
    so, you are not eligible to         a certificate of completion.                                  of completion.
    file.
                                        Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
    If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
                                        payment plan, if any.                                         any.
    can dismiss your case, you
    will lose whatever filing fee
    you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
    creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
    collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                        days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                        circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                        of the requirement.
                                                                                                      To ask for a 30-day temporary waiver of the requirement,
                                        To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                        requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                        what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                        you were unable to obtain it before you filed for             circumstances required you to file this case.
                                        bankruptcy, and what exigent circumstances
                                        required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                      with your reasons for not receiving a briefing before you
                                        Your case may be dismissed if the court is                    filed for bankruptcy.
                                        dissatisfied with your reasons for not receiving a
                                        briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                        If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                        still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                        You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                        agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                        developed, if any. If you do not do so, your case             Any extension of the 30-day deadline is granted only for
                                        may be dismissed.
                                                                                                      cause and is limited to a maximum of 15 days.
                                        Any extension of the 30-day deadline is granted
                                        only for cause and is limited to a maximum of 15
                                        days.
                                        I am not required to receive a briefing about                  I am not required to receive a briefing about credit
                                        credit counseling because of:                                  counseling because of:

                                              Incapacity.                                              Q    Incapacity.
                                              I have a mental illness or a mental deficiency                I have a mental illness or a mental deficiency that
                                              that makes me incapable of realizing or                       makes me incapable of realizing or making rational
                                              making rational decisions about finances.                     decisions about finances

                                        0     Disability.                                                   Disability.
                                              My physical disability causes me to be                        My physical disability causes me to be unable to
                                              unable to participate in a briefing in person,                participate in a briefing in person, by phone, or
                                              by phone, or through the internet, even after I               through the internet, even after I reasonably tried to
                                              reasonably tried to do so.                                    do so.

                                        0     Active duty.                                                  Active duty.
                                              I am currently on active military duty in a                   I am currently on active military duty in a military
                                              military combat zone.                                         combat zone.
                                        If you believe you are not required to receive a               If you believe you are not required to receive a briefing
                                        briefing about credit counseling, you must file a              about credit counseling, you must file a motion for waiver
                                        motion for waiver credit counseling with the court.            of credit counseling with the court.




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 5
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                                                           Main Document    Page 6 of 62Case number (if known)
Debtor 1    Therese Renee Whitten

•.         Answer These Questions for Reporting Purposes
16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.                    101(8) as ‘Incurred by an
     you have?                             Individual primarily for a personal, family, or household purpose.
                                           C No. Go to line 16b.
                                           • Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                           C No. Go to line 1 6c.
                                           C Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under         C No.     lam not filing under Chapter 7. Gob line 18.
    Chapter 7?

     Do you estimate that      • Yes       I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be availabie to distribute to unsecured creditors?
     property is excluded and
     administrative expenses               INo
     are paid that funds will
     be available for                      C Yes
     distribution to unsecured
     creditors?

18. How many Creditors do       • 1-49                                          0 1,000-5,000                               0 25,001-50,000
    you estimate that you                                                       C 5001-10,000                               C 50,001-1 00,000
    owe?                         o 50-99
                                                                                                                            C
                                0 100-199                                       C 10,001-25,000                                 More thanl0o,000
                                C] 200-999

19. How much do you              I $0- $50,000                                  C $1,000,001 $10 million
                                                                                                -                           C $500,000,001 -$1 billion
    estimate your assets to                                                     C $10,000,001 -$50 million                  C $1,000,000,001 -$10 billion
    be worth?                    0 $50,001 $100,000
                                             -




                                C    $100,001    -   $500,000                   C   $50,000,001 $100 million
                                                                                                    -                       C $10,000,000,001 -$50 billion
                                C    $500,001    -   $1 million                 C   $100,000,001 -$500 million              C More than $50 billion

20. How much do you             C$o-$50,000                                     C $1,000,001 -$10 million                   C $500,000,001 $1 billion
                                                                                                                                                  -


    estimate your liabilities   I $50,001 -$100,000                             C $10,000,001 $50 million
                                                                                                    -                       C $1,000,000,001 -$10 billion
    to be?                                                                                                                  C $10,000,000,001 -$50 billion
                                C $100,001 $500,000
                                                 -
                                                                                C $50,000,001 $100 million
                                                                                                    -




                                U    $500,001    -   $1 million                 C $100,000,001 -$500 million                C   More than $50 billion


           Sign Below

For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7. 11,12, or 13 of title 11,
                                United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                document, I have obtained and reed the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                bankruptcy casefLm1lt in fines u t $250,000, or imprisonmentfor upto 20 years, or both. 18 U.S.C. § 152, 1341, 1519,

                                2a- /j
                                Therese Renee hitten
                                                                                                        .


                                                                                                    Signature of Debtor 2
                                Signature of Debtor 1
                                                                /
                                ecuted on                     /
                                                     MMIDDIYYYY
                                                                                                    Executed on
                                                                                                                   MM/DD/YYYY




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 6
                                                                                                                                              __________




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Debtor 1   Therese Renee Whitten                                                                           Case number   (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                Isi Michael Jay Berger                                              Date        February 14, 2020
                                Signature of Attorney for Debtor                                                MM I DD I YYYY

                                Michael Jay Berger
                                Printed name

                                Law Offices of Michael Jay Berger
                                Firm name

                                9454 Wilshire Boulevard, 6th floor
                                Beverly Hills, CA 90212
                                Number. Street.   city, State & ZIP Code
                                                                                                                  michael.bergerbankruptcypower.c
                                Contact phone       (310) 271 -6223                           Email address       om
                                100291 CA
                                Bar number & State




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                               page 7
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                                STATEMENT OF RELATED CASES
                             INFORMATION REQUIRED BY LBR 1015-2
              UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
 1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
     against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
     copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
     corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
     and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
     assigned, whether still pending and, if not, the disposition thereof, If none, so indicate. Also, list any real property
     included in Schedule NB that was filed with any such prior proceeding(s).)
 Chapter 7 Bankruptcy case filed with Eastern District of California (Sacramento), Case No.:
  01-24455, FIled on 4/12/2001, Discharged 7/24/2001. Closed on 7131/2001,

2.   (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
     Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
     debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
     debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
     complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
     and Court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, Hst
     any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
 None

3.  (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
    previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
    of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
    of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
    or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
    such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
    still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
 None

4.  (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
    been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
    proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
    pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
    that was filed with any such prior proceeding(s).)
 None

I declare, under penalty of perjury, that the foregoing is true and correct.                                                                   /JJ
 Executed at    Los Angeles                                        ,   California.                     I
                           /      /                                                                  Therese Renee Whitten
                                                                                                     Signature of Debtor I
 Date:



                                                                                                     Signature of Debtor 2




                 This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of Calltornra
October2018                                                               P8981               F 10152.1.STMT.RELATED,CASES
                                                                                                     __________________________________-

                Case 2:20-bk-11654-NB                          Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                             Desc
                                                               Main Document    Page 9 of 62
 Fill in this information to identify your case:

 Debtor 1                 Therese Renee Whitten
                          First Name                        Middle Name           Last Name

 Debtor 2
 (Spouse if, fiting)      First Name                        Middle Name           Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                        Check if this is an
                                                                                                                                   amended filing



Official Form lO6Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                     12115
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

I1il            Summarize Your Assets

                                                                                                                                  Your assets
                                                                                                                                  Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1 a. Copy line 55, Total real estate, from Schedule A/B                                                                   $                       0.00

         lb. Copy line 62, Total personal property, from Schedule A/B                                                             $                 30.05137

        1 c. Copy line 63, Total of all property on Schedule A/B                                                                  $                 30,051.37

I Summarize Your Liabilities
                                                                                                                                  Your liabilities
                                                                                                                                  Amount you owe

 2.     Schedule D; Creditors Who Have Claims Secured by Property (Official Form 1 06D)
                                                                                                                                  $                 44,092.00
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...

 3.     Schedule ElF: Creditors Who Have Unsecured Claims (Official Form 1 06E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule ElF                             $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule ElF                          $                38,698.97


                                                                                                         Your total liabilities


IT              Summarize Your Income and Exoenses

4.      Schedule I: Your Income (Official Form 1061)
        Copy your combined monthly income from line 12 of Schedule /                                                               $                 4,254.33

5.      Schedule J: Your Expenses (Official Form 1 06J)
        Copy your monthly expenses from line 22c of Schedule J                                                                     $                 4,231.13

Ifl             Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

        B Yes
 7.     What kind of debt do you have?

         •      Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        Q       Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 1 O6Sum                 Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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                                                                         __




                                                                                                                                   ______________________
                                                                                                                                                                  _




               Case 2:20-bk-11654-NB                          Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                               Desc
                                                              Main Document    Page 10 of 62
      Debtor 1     Therese Renee Whitten                                                        Case number (if known)
     8,    From the Statement of Your Current Monthly Income: Copy your
                                                                           total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.
                                                                                                                                       $            6296.93,J

     9.    Copy the following special categories of claims from Part 4, line 6 of
                                                                                  Schedule EJF:


           From Part 4 on Schedule ElF, copy the following:                                                  Total claim

           9a. Domestic support obligations (Copy line 6a.)
                                                                                                             $                  0.00
           9b. Taxes and certain other debts you owe the government. (Copy line
                                                                                6b.)                         $                  0.00
          9c. Claims for death or personal injury while you were intoxicated. (Copy
                                                                                    line 6c.)                $                  0.00
          9d. Student loans. (Copy line 6f.)
                                                                                                             $              4,065.00
          9e. Obligations arising out of a separation agreement or divorce that
                                                                                you did not report as
              priority claims. (Copy line 6g.)                                                               $                  0.00
          9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy
                                                                                       line 6h.)                                0.00

          9g. Total. Add lines 9a through 9f.
                                                                                                        [$                 4,065.OOi




Official Form 1 O6Sum                           Summary of Your Assets and Liabilities and Certain Statistical Information
                                                                                                                                                 page 2 of 2
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                                                                                                                                           Best Case Bankruptcy
                          ____________________________
                                          _________________
                                                                                                                                                _____




                   Case 2:20-bk-11654-NB                        Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                     Desc
                                                                Main Document    Page 11 of 62
    Fill in this information to identify your case and this filing:

    Debtor 1                     Therese Renee Whitten
                                 First Name                   Middle Name                     Last Name

    Debtor 2
    (Spouse, if filing)          First Name                   Middle Name                     Last Name


    United States Bankruptcy Court for the:               CENTRAL DISTRICT OF CALIFORNIA

    Case number                                                                                                                              D     Check if this is an
                                                                                                                                                   amended filing



Official Form IO6AIB
Schedule AIB: Property                                                                                                                            12/15
In each category, separately list and describe items. List an asset only once. Iran asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

IT Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1        Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

         U   No. Go to Part 2.
      D Yes. Where is the property?



    •.          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executor,’ Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

      LJNo
         I   Yes

                                                                                                                     Do not deduct secured claims or exemptions. Put
      3.1      Make:       Lexus                                Who has an interest in the property? Check one
                                                                                                                     the amount of any secured claims on Schedule D
               Model:      RX350                                 • Debtor 1 only                                     Creditors Who Have Claim a Secured by Property.
               Year:     2016                                        Debtor 2 only                                   Current value of the      Current value of the
               Approximate mileage:                 14300            Debtor 1 and Debtor 2 only                      entire property?          portion you own?
               Other information:                                    At least one of the debtors and another
              Location: 4617 Dockweiler             St,
                                                                                                                            $18,000.00                  $18,000.00
                           CA 90019                                  Check if this is community property
             LAn9eles                                                (see instructions)



                                                                                                                     Do not deduct secured claims or exemptions. Put
      3.2      Make:       Lexus                                Who has an interest in the property? Check one
                                                                                                                     the amount of any secured claims on Schedule D:
               Model       1S300                                 I   Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
               Year:     2004                                        Debtor 2 only                                   Current value of the      Current value of the
               Approximate mileage:               145,000            Debtor 1 and Debtor 2 only                      entire property?          portion you own?
               Other information:                                    At least one of the debtors and another
              Location: 4617 DockweilerSt,
                                                                                                                              $3,300.00                   $3,300.00
              Los Angeles CA 90019                                   Check if this is community property
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

         INo
      D      Yes



Official Form 1 06A/B                                                        Schedule NB: Property                                                               page 1
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                                                                                                                                     _______
                                                                                                                                     _______________




             Case 2:20-bk-11654-NB                           Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                              Desc
                                                             Main Document    Page 12 of 62
 Debtor 1       Therese Renee Whitten                                                               Case number (if known)


 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   pages you have attached for Part 2. Write that number here                                                                               $21,300.00


I1iI’ Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured
                                                                                                                                  claims or exemptions
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   No
    I Yes. Describe

                                    Sofa, coffee table, queen size bed, two dressers, desk for
                                    computer, refrigerator, small appliances                                                                     $1,600.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
   DNo
   • Yes. Describe

                                    Two TV’s, desktop computer,           ,   iPhone                               1                             $1,500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections.
               other collections, memorabilia, collectibles
   DNo
   • Yes. Describe

                                    Debtor is an artist and she has her own art work, which is not for
                                    sale and it is not worth anything for sale. It just has sentimental
                                    value to her. She also has some books                                                                           $500.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    • No
      Yes. Describe

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   • No
       Yes. Describe

11. Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   CNo
    • Yes. Describe

                                   I Ordinary clothes, shoes, coats                                                    I                            $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    • No
       Yes. Describe

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
   • No
Official Form 1O6AJB                                                Schedule A/B: Property                                                             page 2
Software Copyrcght (c) 1996-2020 Best Case, LLC -www.bestcase.com                                                                           Best Case Bankruptcy
                                                                                                                                       _________




              Case 2:20-bk-11654-NB                         Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                 Desc
                                                            Main Document    Page 13 of 62
 Debtor 1       Therese Renee Whitten                                                                     Case number   (if known)


        Yes. Describe

14. Any other personal and household items you did not already list, including any health aids you did not list
    • No
    E Yes. Give specific information


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                              $4,000.00
     for Part 3. Write that number here


 -.‘        Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
   D No
    • Yes

                                                                                                              Cash                                      $5.00


17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
   1J No
   • Yes                                                          Institution name:

                                                                           The Golden I Credit Un    -   account ending in
                                     17.1.       Checking                  6844                                                                   $1,718.00



                                     17.2.       Checking                  USAA   -   Account ending in 6816                                          $23.62



                                     17.3.       Savings                   USAA -6824                                                                   $475


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    I   No
    D   Yes                                  Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
     joint venture
   DNo
    • Yes. Give specific information about them
                                 Name of entity:                                          % of ownership:

                                        Therese’s Art Pieces, an S Corporation.
                                        Dissolution of the Corporation was filed with the
                                        Secretary of State of California on 2/11/19.                           100%         %                           $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
     Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
     Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    • No
      Yes. Give specific information about them
                                  Issuer name:


Official Form 1O6AIB                                                Schedule A/B: Property                                                              page 3
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                                             -                                                                                               Best Case Bankruptcy
              Case 2:20-bk-11654-NB                              Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                            Desc
                                                                 Main Document    Page 14 of 62
 Debtor 1        Therese Renee Whitten                                                                      Case number (if known)

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   • No
     Yes. List each account separately.
                              Type of account:                 Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    I No
        Yes                                                               Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    • No
      Yes                Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. § 530(b)(1), 529A(b), and 529(b)(1).
    • No
    D Yes                 Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    • No
   D Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    I No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    • No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
   DNo
    • Yes. Give specific information about them, including whether you already filed the returns and the tax years




                                                             Possible 2019 Tax Returns                           Federal                          $1,000.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    • No
    D Yes. Give specific information

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
    I No
    O Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    INo
    0 Yes. Name the insurance company of each policy and list its value.
Official Form 1O6NB                                     Schedule A/B: Property                                                                          page 4
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                                                                                                                                      ______
                                                                                                                                 ______________________




              Case 2:20-bk-11654-NB                         Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                 Desc
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Debtor 1          Therese Renee Whitten                                                                 Case number (if known)

                                        Company name:                                          Beneficiary:                          Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
    • No
    D   Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue
    I No
        Yes. Describe each claim

34. Other contingent and unhiquidated claims of every nature, including counterclaims of the debtor and rights to set              off claims
    • No
        Yes. Describe each claim

35. Any financial assets you did not already list
    • No
    D   Yes. Give specific information..


 36.    Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                $2,751.37
        for Part 4. Write that number here


ITh1. Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   • No. Go to Part 6.
        Yes. Go   to line   38.




IJThI Describe Any Farm- and Commercial Fishin9-Related Property You Own or Have an Interest In.
      If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       • No. Go to Part 7.
       O   Yes. Go to line 47.


I2TiWi            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
   ONo
    • Yes. Give specific information


                                       Lwork related equipment,        power tools, brushes                                                        $2,000.00



 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                            $2,000.O0




Official Form 1 D6AJB                                              Schedule A/B: Property                                                                page 5
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                                             -
                                                                                                                                              Best Case Bankruptcy
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                                                            Main Document    Page 16 ofCase
                                                                                        62 number (if known)
Debtor 1       Therese Renee Whitten

IThl         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2                                                                                                             $0.00
56. Part 2: Total vehicles, line 5                                                      $21,300.00
57. Part 3: Total personal and household items, line 15                                   $4,000.00
58. Part 4: Total financial assets, line 36                                               $2,751.37
59. Part 5: Total business-related property, line 45                                          $0.00
60.    Part 6: Total farm- and fishing-related property, line 52                                 $0.00
61.    Part 7: Total other property not listed, line 54                           +       $2,000.00

62. Total personal property. Add lines 56 through 61...                                 $30,051.37       Copy personal property total       $30,051.37


63. Total of all property on Schedule A/B. Add line 55              +   line 62                                                          $30,051.37
                                                                                                                                                          j




                                                                        Schedule A/B: Property                                                       page 6
 Official Form 1 O6AIB
                                                                                                                                          Best Case Bankruptcy
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               Case 2:20-bk-11654-NB                          Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                          Desc
                                                              Main Document    Page 17 of 62
Fill in this information to identify your case:
Debtor I                 Therese Renee Whitten
                         First Name                        Middle Name                      Last Name

Debtor 2
(Spouse if, filing)      First Name                         Middle Name                     Last Name


 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)                                                                                                                                     Check if this is an
                                                                                                                                               amended filing


Official Form 1060
Schedule C The Property You Claim as Exempt                                                                                                                          4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 1 06N5) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.
                Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      • You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C.   § 522(b)(3)
          You are claiming federal exemptions.           11 U.S.C.   § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim         Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule P18
      2004 Lexus 1S300 145,000 miles                                                                               $3,300.00      C.C.P.   § 703.140(b)(2)
                                                                          $3,300.00
      Location: 4617 Dockweiler St, Los
      Angeles CA 90019                                                                         100% of fair market value, upto
      Line from Schedule A/B: 3.2                                                              any applicable statutory limit


      Sofa, coffee table, queen size bed,                                                                          $1,600.00      C.C.P.   § 703.140(b)(3)
                                                                          $1,600.00     I
      two dressers, desk for computer,
      refrigerator, small appliances                                                    D      100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                              any applicable statutory limit


      Two TV’s, desktop computer,,                                        $1,500.00     I                          $1,500.00
                                                                                                                                  C.C.P.   § 703.140(b)(3)
      iPhone
      Line from Schedule A/B: 7.1                                                              100% of fair market value, upto
                                                                                               any applicable statutory limit


      Debtor is an artist and she has her                                                                            $500.00      C.C.P.   §   703.140(b)(3)
                                                                           $500.00      I
      own art work, which is not for sale
      and it is not worth anything for sale.                                                   100% of fair market value, up to
      It just has sentimental value to her.                                                    any applicable statutory limit
      She also has some books
      Line from Schedule A/B: 8.1

      Ordinary clothes, shoes, coats                                       $400.00                                   $400.00      C.C.P.   § 703.140(b)(3)
      Line from Schedule A/B: 11.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit


Official Form 1 06C                                     Schedule C: The Property You Claim as Exempt                                                           page 1 of 2
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               Case 2:20-bk-11654-NB                             Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                          Desc
                                                                 Main Document    Page 18 of 62
 Debtor   1    Therese Renee Whitten                                                                         Case number (if known)
      Brief description of the property and line on               Current value of the    Amount of the exemption you claim           Specific laws ttiat allow exemption
      Schedule A/B that lists this property                       portion you own
                                                                  Copy the value   from   Check only one box for each exemption.
                                                                  Schedule A/B

      Cash                                                                       $5.00    U                               $5.00       C.C.P.   § 703.140(b)(5)
      Line from Schedule A/B: 16.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit


      Checking: The Golden I Credit Un                      -             $1,718.00       •                          $1,718.00        C.C.P.   § 703.140(b)(5)
      account ending in 6844
      Line from Schedule A/B: 17.1                                                             100% affair market value, up to
                                                                                               any applicable statutory limit

      Checking: USAA Account ending in-

                                                                             $23.62       U                              $23.62       C.C.P.   § 703.140(b)(5)
      6816
      Line from Schedule A/B: 17.2                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit

      Savings: USAA               -   6824                                       $475     U                               $4.75       C.C.P.   § 703.140(b)(5)
      Line from Schedule A/B: 17.3
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

      Federal: Possible 2019 Tax Returns                                  $1,000.00       •                          $1,000.00        C.C.P.   § 703.140(b)(5)
      Line from Schedule A/B: 28.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

      Work related equipment, power                                                       U                          $2,000.00        C.C.P.   § 703.140(b)(6)
                                                                          $2,000.00
      tools, brushes
      Line from Schedule A/B: 53.1                                                        D    100% of fair market value, up to
                                                                                               any applicable statutory limit


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      I       No
      C       Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              C        No
              C        Yes




Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                          page 2 of 2
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                                                  -                                                                                                        Best Case Bankruptcy
        ________________________________
                           ____________________
                                                            ____________
                                                                                                     _______       ______




                  Case 2:20-bk-11654-NB                               Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                             Desc
                                                                      Main Document    Page 19 of 62
Fill   in   this information to identify your case:
Debtor 1                       Therese Renee Whitten
                               First Name                           Middle Name                      Last Name

Debtor 2
(Spouse if, filing>            First Name                           Middle Name                      Last Name


United States Bankruptcy Court for the:                        CENTRAL DISTRICT OF CALIFORNIA


Case        number




(if known)                                                                                                                                            Q   Check if this is an
                                                                                                                                                          amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
       D     No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       I     Yes. Fill in all of the information below.

ITh               List All Secured Claims
                                                                                                                    Column A               Column B                 Column C
2. List all secured claims, If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As            Amount of claim        Value of collateral      Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                           Do not deduct the      that supports this       portion
                                                                                                                    value of collateral.   claim                    If any
fi1 Toyota Motor Credit                                    Describe the property that secures the claim:                $44,092.00               $18,000.00           $26,092.00
            Creditors Name                                 2016 Lexus RX350 14300 miles
                                                           Location: 4617 Dockweiler St, Los
                                                           Angeles CA 90019
                                                           As of the date you file, the claim is: Check all that
            111W 22nd St                                   apply.
            Oakbrook, IL 60521                             D   Contingent
            Number, Street, City, State & Zip Code         D   Unhiquidated
                                                           D Disputed
Who owes the debt? Check one.                              Nature of lien. Check all that apply.
 • Debtor 1 only                                               An agreement you made (such as mortgage or secured
                                                                car loan)
 D     Debtor 2 only
 EJ    Debtor 1 and Debtor 2 only                          D   Statutory lien (such as tax lien, mechanics lien)
 J     At least one of the debtors and another             D   Judgment lien from a lawsuit
       Check if this claim relates to a                    I   Other (including a right to offset)   Financed Vehicle
        community debt

                                    Opened
                                    07119 Last
                                    Active
 Date debt was incurred             10/20119                        Last 4 digits of account number        0001



   Add the dollar value of your entries in Column A on this page. Write that number here:                                                    0
   If this is the last page of your form, add the dollar value totals from all pages.                                             $44,092.00
   Write that number here:

jOthers to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                        Schedule D: Creditors Who Have Claims Secured by Property                                                       page 1 of 1

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                  Case 2:20-bk-11654-NB                       Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                                     Desc
                                                              Main Document    Page 20 of 62
 Fill in this information to identify your case:
 Debtor 1                   Therese Renee Whiften
                            First Name                     Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                     Middle Name                       Last Name

 United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                                        )J   Check if this is an
                                                                                                                                                        amended filing


Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                    12115
Be as complete and accurate as possible. Use Part I for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule NB: Property (Official Form IOBA/B) and on
Schedule 6: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule 0: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
I1T List All of Your PRIORITY Unsecured Claims
 1.   Do any creditors have priority unsecured claims against you?
      • No. Go to Part 2.
      D    Yes.

IITW List All of Your NONPRIORITY Unsecured Claims
 3.   Do any creditors have nonpriority unsecured claims against you?

      D    No. You have nothing to report in this part Submit this form to the court with your other schedules.

      • Yes.

 4.   List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1 If more
      than one creditor holds a particular claim, list the other creditors in Part 3.tf you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                              Total claim

              Capital One Bank Usa NA                                Last 4 digits of account number        4140                                                        $4,687.00
              Nonpriority Creditor’s Name
                                                                                                            Opened 10/14 Last Active
              Po Box 30281                                          When was the debt incurred?             10/21/19
              Salt Lake City, UT 84130
              Number Street City State Zip Code                     As of the date you file, the claim is; Check all that apply
              Who incurred the debt? Check one.
              • Debtor 1 only                                            Contingent
              E Debtor 2 Only                                        D   Unhiquidated
              D Debtor 1 and Debtor 2 only                           D Disputed
              D At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                 Student loans
              debt                                                   D  Obligations arising Out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                        report as priority claims
              •No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                • Other. Specify     Charge Account




Official Form 106 ElF                                  Schedule ElF; Creditors Who Have Unsecured Claims                                                                   Page 1 of 5
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                                              -                                                               24271                                                Best Case Bankruptcy
                                                               ______        ______      ________   ________________

              Case 2:20-bk-11654-NB                         Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                            Desc
                                                            Main Document    Page 21 of 62
Debtor   1 Therese Renee Whiften                                                                        Case number      (if   known)



         Dr. Gary Briskin, DPM                                     Last 4 digits of account number        5279                                             $1,596.00
         Nonpriority Creditors Name
         2121 Wilshire Blvd., #101                                 When was the debt incurred?            2019
         Santa Monica, CA 90403
         Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
          I   Debtor 1 Only                                        El   Contingent
          El Debtor 2 only                                         El   Unliquidated
          El Debtor 1 and Debtor 2 Only                            El Disputed
          El At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

          El Check it this claim is for a community                El   Student loans
         debt                                                      El Obligations arising out of a separation agreement or divorce that you did not
         lathe claim subject to offset?                            report as priority claims

          INo                                                      El   Debts to pension or profit-sharing plans, and other similar debts

          El Yes                                                   I    Other. Specify   Medical Services


          Edfinancial Services L                                   Last 4 digits of account number         8549                                            $2,074.00
          Nonpriority Creditors Name
                                                                                                           Opened 04108 Last Active
          120 N Seven Oaks Drive                                   When was the debt incurred?             10107119
          Knoxville, TN 37922
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
          • Debtor 1 only                                          El Contingent
          O Debtor 2 only                                          El Unhiquidated
          El Debtor 1 and Debtor 2 only                            El Disputed
                                                                   Type of NONPRIORITY unsecured claim:
          El At least one of the debtors and another
                                                                   I    Student loans
          El Check it this claim is for a community
          debt                                                     El Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
          I No                                                     El   Debts to pension or profit-sharing plans, and other similar debts

          El Yes                                                   El   Other. Specify
                                                                                          Educational

          Edfinancial Services L                                   Last 4 digits of account number         8649                                            $1,991.00
          Nonpriority Creditors Name
                                                                                                           Opened 04/08 Last Active
          120 N Seven Oaks Drive                                   When was the debt incurred?             10107/19
          Knoxville, TN 37922
          Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
          • Debtor 1 only                                          El   Contingent

          El Debtor 2 only                                         El   Unliquidated

          El Debtor 1 and Debtor 2 only                            El Disputed
                                                                   Type of NONPRIORITY unsecured claim:
          0 At least one of the debtors and another
                                                                   • Student loans
          El Check if this claim is for a community
          debt                                                     El Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                          report as priority claims
          • No                                                     El   Debts to pension or profit-sharing plans, and other similar debts

          El Yes                                                   El   Other Specify
                                                                                          Educational




Official Form 106 ElF                                 Schedule ElF: Creditors Who Have Unsecured Claims                                                       Page 2 of 5
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                Case 2:20-bk-11654-NB                           Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                            Desc
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 Debtor 1       Therese Renee Whitten                                                                      Case number (if known)


            Jpmcb Card                                                 Last 4 digits of account number       5148                                                 $822.00
            Nonpriority Creditors Name
                                                                                                             Opened 09/15 Last Active
            Po Box 15369                                               When was the debt incurred?           11/02/19
            Wilmington, DE 19850
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
            • Debtor I only                                            O   Contingent
            O Debtor 2 only                                            0   Unhiquidated
            0 Debtor 1 and Debtor 2 Only                               0  Disputed
            0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

            0 Check if this claim is for a community                   O   Student loans
            debt                                                       C  Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims
            •No                                                        C   Debts to pension or profit-sharing plans, and other similar debts

            0   Yes                                                    • Other. Specify     Credit Card


            Pay Pal                                                    Last 4 digits of account number        Unknown                                          $4. 303. 97
            Nonpriority Creditors Name
           Attention Legal Dept.                                       When was the debt incurred?            2018
           2211 N. FirstSt.
           Milpitas, CA 95036
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
            • Debtor 1 only                                            C   Contingent
            0 Debtor 2 only                                            C   Unliquidated
            0 Debtor 1 and Debtor 2 only                               C  Disputed
            C At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

            C Check if this claim is for a community                   C   Student loans
            debt                                                       C  Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims
            • No                                                       C   Debts to pension or profit-sharing plans, and other similar debts

            0 Yes                                                      • Other. Specify     charge account


            Portfolio Recov Assoc                                      Last 4 digits of account number        8762                                           $13,397.00
            Nonpriority Creditor’s Name
            120 Corporate Blvd Ste 100                                 When was the debt incurred?            Opened 08118
            Norfolk, VA 23502
           Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            • Debtor 1 only                                            0   Contingent
            O Debtor 2 only                                            0   Unliquidated
            0 Debtor 1 and Debtor 2 only                               C  Disputed
            0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

            0 Check if this claim is for a community                   C   Student loans
            debt                                                       C  Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims
            • No                                                       C   Debts to pension or profit-sharing plans, and other similar debts
                                                                                            Collection agency for Barclays Bank
            C Yes                                                      • Other. Specify     Delaware




Official Form 106 ElF                                      Schedule ElF: Creditors Who Have Unsecured Claims                                                      Page 3 of 5
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               Case 2:20-bk-11654-NB                           Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                               Desc
                                                               Main Document    Page 23 of 62
Debtor    1 Therese Renee Whitten                                                                         Case number (it known)


          Syncb/ppc                                                   Last 4 digits of account number        2744                                                 $4,094.00
          Nonpriority Creditor’s Name
                                                                                                            Opened 10115 Last Active
          Po Box 965005                                               When was the debt incurred?           10116119
          Orlando, FL 32896
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
          • Debtor 1 only                                             C   Contingent
          C    Debtor 2 only                                          C   Unliquidated
          C    Debtor 1 and Debtor 2 Only                             C  Disputed
          C    At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

          O   Check if this claim is for a community                  C   Student loans
          debt                                                        C  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims

          •No                                                         C   Debts to pension or profit-sharing plans, and other similar debts

          0    Yes                                                    U   Other, Specify   Credit Card


          The Golden I Credit Union                                   Last 4 digits of account number        9175                                                 $4,949.00
          Nonpriority Creditors Name
                                                                                                             Opened 06115 Last Active
          P.o. Box 279740                                             When was the debt incurred?            10124119




          Sacramento, CA 95827
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           • Debtor 1 only                                            C   Contingent
          C Debtor 2 only                                             C   Unhiquidated
          C Debtor 1 and Debtor 2 only                                C  Disputed
          C At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

          C Check if this claim is for a community                    C Student loans
          debt                                                        C  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
           • No                                                       C   Debts to pension or profit-sharing plans, and other similar debts

           C Yes                                                      U   Other. Specify   Credit Card


           University Foot & Ankle                                    Last 4 digits of account number        279Q                                                    $785.00
          Nonpriority Creditor’s Name
          Gary B. Briskin                                             When was the debt incurred?            2019
          2121 Wilshire Blvd., Ste 101
          Santa Monica, CA 90403
          Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           • Debtor 1 only                                            C   Contingent
           C   Debtor 2 only                                          0   Unliquidated
           C   Debtor 1 and Debtor 2 only                             C  Disputed
           C   At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

           C  Check if this claim is for a community
                                                                      C   Student loans
          debt                                                        C  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                             report as priority claims
           • No                                                       C   Debts to pension or profit-sharing plans, and other similar debts

           C   Yes                                                    • Other. Specify Medical Services

I1             List_Others_to_Be_Notified_About a_Debt That You_Already_Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts I or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts I or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts I or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts I or 2, do not fill out or submit this page.


Official Form 106 ElF                                     Schedule ElF: Creditors Who Have Unsecured Claims                                                          Page 4 of 5
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              Case 2:20-bk-11654-NB                         Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                                      Desc
                                                            Main Document    Page 24 of 62
 Debtor   1   Therese Renee Whitten                                                                      Case number (if known)

 Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Barclays Bank Delaware                                        Line 4.7 of (Check one):                    Part 1: Creditors with Priority Unsecured Clairr-is
P 0 Box 8803                                                                                            I   Part 2: Creditors with Nonpriority Unsecured Claims
Wilmington, DE 19899
                                                              Last 4 digits of account number

 Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
 Michael S. Hunt, Esq                                         Line 4.7 of (Check one):                 D Part 1: Creditors with Priority Unsecured Clairrss
 Hunt & Henriques                                                                                       I Part 2: Creditors with Nonpriority Unsecured Claims
 151 Bernal Road, Suite 8
 San Jose, CA 95119-1 306
                                                              Last 4 digits of account number


              Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28             U.S.C.   §159. Add the amounts for each
   type of unsecured claim.
                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                   6a.      $                            0.00
Total
claims
from Part I             6b.   Taxes and certain other debts you owe the government                           6b.      $                            0.00
                        6c.   Claims for death or personal injury while you were intoxicated                 6c.      $                            0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.        6d.      $                            0.00

                        6e.   Total Priority. Add lines Ba through 6d.                                       6e.
                                                                                                                    H           Total Claim
                        6f.   Student loans                                                                  6f.      $                       4,065.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                          6g.      $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts              6h.      $                         0.00
                        6i.   Other. Add all other nonpriorily unsecured claims. Write that amount           Bi.
                              here.                                                                                   $                    34,633.97

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                    6j.
                                                                                                                    H                      38,698.97




Official Form 106 ElF                                  Schedule ElF: Creditors Who Have unsecured Claims                                                                 Page 5 of 5
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                 Case 2:20-bk-11654-NB                                Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                         Desc
                                                                      Main Document    Page 25 of 62
 Fill in this information to identify your case:

 Debtor 1                        Therese Renee Whitten
                                 First Name                         Middle Name         Last Name

 Debtor 2
 (Spouse if, tiling)             First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:                     CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
Be as complete and accurate as possible. If two married people are tiling together, both are equally responsible for supplying correct
information, If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       U Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                       State what the contract or lease is for
                                 Name. Number. Street, City, State and ZIP Code

     2.1      Toyota Motor Credit                                                              Financed vehicle.
              111 W22nd St
              Oakbrook, IL 60521




Official Form 1 06G                                       Schedule G: Executory Contracts and Unexpired Leases                                        Page 1 of 1
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                                                                                                                                                Best Case Bankruptcy
                  Case 2:20-bk-11654-NB                                 Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                        Desc
                                                                        Main Document    Page 26 of 62
 Fill in this information to identify your case:

 Debtor 1                       Therese Renee Whitten
                                First Name                            Middle Name        Last Name



 Debtor 2
 (Spouse   if, filing)          First Name                            Middle Name        Last Name




 United States Bankruptcy Court for the:                      CENTRAL DISTRICT OF CALIFORNIA

 Case number
 (if known)                                                                                                                        Q Check if this is an
                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                              12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. on the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

      • No
      ED Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

      ED No. Go to line 3.
      • Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                  •No
                  ED Yes.

                           In which community state or territory did you live?           -NON             Fill in the name and current address of that person


                           Name of your spouse, former spouse, or legal equivalent

                           Number. Street. City, State & Zip Code




   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule ElF (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule 0, Schedule EJF, or Schedule G to fill
      out Column 2.

                 Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt
                 Name, Number, Street. City, State and ZIP Code                                          Check all schedules that apply:

                                                                                                         ED Schedule D, line
                  Name
                                                                                                         ED Schedule ElF, line
                                                                                                         ED Schedule G, line
                  Number               Street


                  City                                        State                       ZIP Code




                                                                                                         ED Schedule D, line
                  Name
                                                                                                         ED Schedule ElF, line
                                                                                                         ED Schedule G, line
                  Number               Street

                 City                                         State                       ZIP Code




Official Form 106H                                                                   Schedule H: Your Codebtors                                     Page 1 of 1
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                                                      -                                                                                         Best Case Bankruptcy
                          ___________
                          ___________
               ______________________ ___________
                                       ___________
                                      ___________ ___________ ____
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                                                   ___________     ____
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                                                                                       ___________
                                                                                         ________
                                                                                ___________
                                                                            ___________
                                                                                                   _




________




                 Case 2:20-bk-11654-NB                      Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                               Desc
                                                            Main Document    Page 27 of 62


Fill in this information to identify your case:

Debtor 1                     Therese Renee Whitten

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:           CENTRAL DISTRICT OF CALIFORNIA

                                                                                                                      Check if this is:
Case number
(If known)                                                                                                                An amended filing

                                                                                                                      D   A supplement showing postpetition       chapter

                                                                                                                          13 income as of the following date:

Official Form 1061                                                                                                        MM/DDIYYYY
                                                                                                                                             12115
Schedule I: Your Income                                                                                              are equally responsible for
                                                                       filing together (Debtor I and Debtor 2), both
Be as complete and accurate as possible. If two married people are
                                                                 jointly, and your spouse is living with you, include information about your
supplying correct information. If you are married and not filing
                                                                       do not include information about your spouse. If more space is needed,
spouse. If you are separated and your spouse is not filing with you,
                                form. On the top of any additional  pages,   write your name and case number (if known). Answer every question.
attach a separate sheet to this

 Part I:              Describe Employment

        Fill in your employment                                              Debtor I                                        Debtor 2 or non-filing spouse
        information.
                                                                             • Employed
                                                                                                                              D   Employed
        If youhave more than one job,
        attach a separate page with
                                              Employment status                                                                   Not employed
                                                                             D   Not employed
        information about additional
        employers.
                                              Occupation                     Decorator of Productions Sets
        Include part-time, seasonal, or
                                              Employer’s name                Various Studios
        self-employed work.


         Occupation may include student       Employer’s address
         or homemaker, if it applies.


                                              How long employed there?                    10 Years

 Part 2:              Dbout Monthi Income
                                                                       nothing to report                      any line, write $0 in the   space. Include your non-filing
Estimate monthly income as of the date you file this form. If you have
                                                                                                        for

spouse unless you are separated.
                                                                                     the information for all employers    for that person on the lines below.   If you   need
If you or your non-filing spouse have more than one              employer, combine

more space, attach a separate sheet to this form.
                                                                                                                     For Debtor I           For Debtor 2 or



         List monthly gross wages, salary, and commissions (before all payroll                           2.      $         6,296.93         $               N/A
  2.     deductions). If not paid monthly, calculate what the monthly wage would be.
                                                                                                         3.    +$                 0.00                      N/A
  3.      Estimate and list monthly overtime pay.

                                                       line 3.                                           4.    93
  4.      Calculate gross Income. Add line 2       +




                                                                                     Schedule I: Your Income                                                         page   1
 Official Form 1061
                                                                                                  ___                         __                       ________




            Case 2:20-bk-11654-NB                  Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                                  Desc
                                                   Main Document    Page 28 of 62

 Debtor 1   Therese Renee Whitten                                                                     Case number   (if known)




                                                                                                      or Debtor I                     For Debtor 2 or
                                                                                                                                      non-filing spouse
      Copy line 4                                                                            4.           $       6,296.93            $              N/A

 5.   List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                    5a.          $       1,256.02            $                 N/A
      5b.   Mandatory contributions for retirement plans                                     5b.          $           0.00            $                 N/A
      5c.   Voluntary contributions for retirement plans                                     5c.          $           0.00            $                 N/A
      5d.   Required repayments of retirement fund loans                                     5d.          $           0.00            $                 N/A
      5e.   Insurance                                                                        5e.          $           0.00            $                 N/A
      5f.   Domestic support obligations                                                     5f.          $           0.00            $                 N/A
      5g.   Union dues                                                                       5g.          $           0.00            $                 N/A
      5h.   Other deductions. Specify: Union                                                 5h.+         $         725.65        +   $                 N/A
            Disability Ins.                                                                               $          60.93            $                 N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                         6.       $           2,042.60            $                 N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                    7.       $           4,254.33            $                 N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                             8a.          $              0.00         $                 N/A
      8b.    Interest and dividends                                                          8b.          $              0.00         $                 N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                            8c.          $              0.00         $                 N/A
      8d.    Unemployment compensation                                                       8d.          $              0.00         $                 N/A
      8e.    Social Security                                                                 8e.          $              0.00         $                 N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                        8f.  $                      0.00         $                 N/A
      8g.    Pension or retirement income                                                    8g.  $                      0.00         $                 N/A
      8h.    Other monthly income. Specify:                                                  8h.+ $                      0.00     +   $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.
                                                                                                      H                  o.ooj
 10. Calculate monthly income. Add line 7 + line 9.                                        10.    $           4,254.33    +   $             N1     =    $     4,254.33
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
     other friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
      Specify:                                                                                                                               11.   +$             0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Schedules and Statistical Summaty of Certain Liabilities and Related Data, if it
     applies                                                                                                                                 12.   $          4,254.3

                                                                                                                                                   Combined
                                                                                                                                                   monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
           No.
     D     Yes. Explain:   Debtor works as a decorator at various productions in different studios. It is not a full time job,                                           I
                          therefore there are times when she doesn’t have any work. She gets paid as a wage employee when
                          she is working on a project by each studio that hires her for a specific project.




Official Form 1061                                                      Schedule I: Your Income                                                               page 2
                      _____________________________________________________________ _______________________________________________________________
                                                                                                                      _________
                                                                                                                      _____________
                                                                                                                       _________________
                                                                                                                                                            ______-




           Case 2:20-bk-11654-NB                      Doc 1 Filed 02/14/20 Entered 02/14/20 11:10:21                                            Desc
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Fill in this information to identify your case:

Debtor 1              Therese Renee Whitten                                                                 Check if this is:
                                                                                                                An amended filing
Debtor 2                                                                                                        A supplement Showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA                                          MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

ITiI       Describe Your Household
 1. Is this a joint case?
      • No. Go to line 2.
      C Yes. Does Debtor 2 live in a separate household?
                CNo
                C Yes. Debtor 2 must file Official Form 1 06J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?             I No
      Do not list Debtor 1 and            C Yes,    Fill out this information for   Dependent’s relationship to         Dependent’s        Does dependent
      Debtor 2.                                     each dependent                  Debtor I or Debtor 2                age                live with you?

      Do not state the                                                                                                                     C No
      dependents names.                                                                                                                        Yes
                                                                                                                                           C   No
                                                                                                                                           C   Yes
                                                                                                                                           C   No
                                                                                                                                           C   Yes
                                                                                                                                           C   No
                                                                                                                                           C   Yes
3.    Do your expenses include                    • No
      expenses of people other than
      yourself and your dependents?               C Yes

IiW        Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 1061.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
                                                                                                             4. $                              1,200.00
      payments and any rent for the ground or lot.

      If not included in line 4:

      4a.   Real estate taxes                                                                               4a.   $                                  0.00
      4b.   Property, homeowner’s, or renter’s insurance                                                    4b.   $                                  0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                   4c.   $                                  0.00
      4d.   Homeowner’s association or condominium dues                                                     4d.   $                                  0.00
 5.   Additional mortgage payments for your residence, such as home equity loans                             5.   $                                  0.00




Official Form 105J                                                    Schedule J: Your Expenses                                                              page 1
                                  ____________________________________________________
                    _________________________________________________________________
                    __________________________________________________________________________
                                 ___________________________________________________
                                 _____________________________________
                                         ____________________________________________________                                           ______________________________
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 Debtor     1     Therese Renee Whitten                                                                                 Case number (if known)

 6.    Utilities:
       6a.        Electricity, heat, natural gas                                                                             6a.    $                            170.00
       6b.        Water, sewer, garbage collection                                                                           6b.    $                              0.00
       6c.        Telephone, cell phone, Internet, satellite, and cable services                                             6c.    $                            350.00
       6d.        Other. Specify:                                                                                            6d.    $                              0.00
 7.    Food and housekeeping supplies                                                                                          7.   $                            600.00
 8.    Childcare and children’s education costs                                                                                8.   $                              0.00
 9.    Clothing, laundry, and dry cleaning                                                                                    9. $                               150.00
 10.   Personal care products and services                                                                                   10. $                               125.00
 11.   Medical and dental expenses                                                                                           11.    $                            150.00
 12.   Transportation. Include gas, maintenance, bus or train fare.
       Do not include car payments.                                                                                          12.    $                            250.00
 13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                                    13. $                                 0.00
 14.   Charitable contributions and religious donations                                                                      14. $                                 0.00
 15.   Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a.       Life insurance                                                                                            15a.    $                              0.00
       15b.       Health insurance                                                                                          15b.    $                              0.00
       15c.       Vehicle insurance                                                                                         15c.    $                           326.13
       1 5d.      Other insurance.        Specify:                                                                          15d.    $                             0.00
 16.   Taxes. Do not include taxes deducted from your pay                       or included in lines    4 or 20.
       Specify:                                                                                                              16.    $                              0.00
 17.   Installment or lease payments:
       1   7a.    Car   payments    for   Vehicle    1                                                                      17a.    $                           860.00
       1 7b.      Car payments for Vehicle 2                                                                                17b. $
       1 7c.      Other. Specify:         Student Loan                                                                      1 7c.   $                             50.00
       17d.       Other. Specify:                                                                                           17d.    $                              0.00
 18.   Your payments of alimony, maintenance, and support that you did not report as
       deducted from your pay on line 5, Schedule I, Your Income (Official Form 1061).                                       18.    $                              0.00
 19.   Other payments you make to support others who do not live with you.                                                          $                              0.00
       Specify:                                                                               19.
 20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a.       Mortgages on other property                                                                               20a.    $                              0.00
       20b.       Real estate taxes                                                                                         20b. $                                 0.00
       20c.       Property, homeowners, or renter’s insurance                                                               20c. $
       20d.       Maintenance, repair, and upkeep expenses                                                                  20d. $                                 0.00
       20e.       Homeowner’s association or condominium dues                                                               20e. $                                 0.00
 21.   Other:     Specify:                                                                                                   21. +$                                0.00
 22.   Calculate your monthly expenses
       22a. Add lines 4 through 21.                                                                                                     $                  4,231.13
       22b. Copy line 22 (monthly expenses                for   Debtor 2), if   any, from   Official   Form   1 06J-2                   $
       22c. Add      line   22a   and   22b. The     result is your monthly expenses.                                                   $
 23.   Calculate your monthly net income.
       23a.      Copy line 12 (your combined monthly income) from Schedule I.                                               23a.    $                         4,254.33
       23b.      Copy your monthly expenses from line 22c above.                                                            23b. -$                           4,231.13

       23c.      Subtract your monthly expenses from your                monthly income.

                 The result is your monthly net income.                                                                     23c. $                               23.20

 24.   Do you expect an increase or decrease in your expenses within the year after you tile this form?
       For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
       modification to the terms of your mortgage?
       • No.
       D Yes.                 I
                             Explain here:




Official   Form   106J                                                           Schedule J: Your Expenses                                                                  page 2
                                                                                  _______   ________    _____
                                                                                            ________________
                                                                                                __________
                                                              _______
                                                                  ________




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  Fill in this information to identify your case:

  Debtor 1               Therese Renee Whitten
                         First Name                    Mddte Name             Last Name
  Debtor2
  (Spcuas if, IiIsg)     First Name                    Micdte Name            Last Name


  United States Bankruptcy Court for the:        CENTRAL DISTRICT OF CALIFORNIA               -




  Case number
  (rf known)                                                                                                               D   Check if this is an
                                                                                                                               arriended filing



 Official Form lO6Dec
 Declaration About an Individual Debtor’s Schedules                                                                                                  12118

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules, Making a false statement, concealing property, or
obtaining money or property by fraud In connection with a bankruptcy ease can result In fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. § 152,1341,1519, and 3571.


                   Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        •       No

        Q Yes. Name of person                                                                            Attach Bankruptcy Petition Preparars Notice,
                                                                                                         Declaration, end Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that the are true         rect.


               Therese Rene Whitten                                              Signature of Debtor 2
               Signature of Debt r 1

               Date                                                              Date




Official Form lO6Dec                                 Declaration About an Individual Debtors Schedules
Soltwars CopnQht (c) 1996-2019 Best Case, LLC wwbeatcasecom
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                                                                                                                                        Best Case Bankruptcy
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Fill in this information to identify your case:

Debtor 1                   Therese Renee Whitten
                           First Name                     Middle Name                  Last Name

Debtor 2
                           First Name                     Middle Name                  Last Name
(Spouse if, filing)

United States Bankruptcy Court for the:             CENTRAL DISTRICT OF CALIFORNIA

Case number
)if knowni                                                                                                                                 Q Check if this is an
                                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                  4/19
                                                                                          are equally responsible for supplying correct
Be as complete and accurate as possible. If two married people are filing together, both
information. If more space is needed, attach a separate sheet to this form. On the top of  any additional pages, write your name and case
number (if known). Answer every question.

Ii               Give Details About Your Marital Status and Where You Lived Before

1.      What is your current marital status?

        D      Married
        U      Not married

2.      During the last 3 years, have you lived anywhere other than where you live now?

        UNo
        D Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
                                                                Dates Debtor I             Debtor 2 Prior Address:                                 Dates Debtor 2
         Debtor I Prior Address:                                                                                                                   lived there
                                                                lived there
                                                                                                       property state or territory? (Community property
3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community Texas, Washington and Wisconsin.)
       and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
states

        •      No
        1      Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

                 Explain the Sources of Your Income

                                                                                                             or the two previous calendar years?
4.      Did you have any income from employment or from operating a business during this year
                                                                                                               activities.
        Fill in the total amount of income you received from all jobs and all businesses, including part-time
                                                                                                        under Debtor 1.
        If you are filing a joint case and you have income that you receive together, list it only once

        ONo
        •       Yes. Fill in the details.

                                                   Debtor I                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income                Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.            (before deductions
                                                                                    exclusions)                                                     and exclusions)

     From January 1 of current year until          • Wages, commissions,                           $2,600.00         Wages, commissions,
     the date you filed for bankruptcy:                                                                            bonuses, tips
                                                   bonuses, tips
                                                    D Operating a business                                         D Operating a business




                                                                                                                                                                     page 1
 Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy
                                                                                                                                                         Best Case Bankruptcy
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Debtor 1     Therese Renee Whitten                                                                       Case number    hf known)




                                                 Debtor I                                                       Debtor 2
                                                 Sources of income                Gross income                  Sources of income                  Gross income
                                                 Check all that apply.            (before deductions and        Check all that apply.              (before deductions
                                                                                  exclusions)                                                      and exclusions)

For last calendar year:                          • wages, commissions,                        $69,000.00        0 Wages, commissions,
(January Ito December 31, 2019)                  bonuses, tips                                                  bonuses, tips

                                                 0   Operating a business                                       C   Operating a business


 For the calendar year before that:              • Wages, commissions,                        $60,235.00        C Wages, commissions,
 (January ito December 31, 2018)                 bonuses, tips                                                  bonuses, tips

                                                 0   Operating a business                       -
                                                                                                                0   Operating a business



5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     I     No
     0     Yes. Fill in the details.

                                                 Debtor I                                                       Debtor 2
                                                 Sources of income                Gross income from             Sources of income                  Gross income
                                                 Describe below,                  each source                   Describe below.                    (before deductions
                                                                                  (before deductions and                                           and exclusions)
                                                                                  exclusions)

IFlTI List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor l’s or Debtor 2’s debts primarily consumer debts?
     0 No. Neither Debtor I nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C.                            §   101(8) as ‘incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                     O No.      Go to line 7.
                     0 Yes List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

      •    Yes. Debtor I or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                       No.        Go to line 7.
                     • Yes        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                  include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                  attorney for this bankruptcy case.


      Creditor’s Name and Address                              Dates of payment            Total amount          Amount you         Was this payment for
                                                                                                   paid            still owe

      Toyota Motor Credit                                      November 2019                  $2,580.00          $44,092.00         C   Mortgage
      111 W 22nd St                                            December 2019                                                        • Car
      Oakbrook, IL 60521                                       January 2020                                                         C Credit Card
                                                                                                                                    C Loan Repayment
                                                                                                                                    C Suppliers or vendors
                                                                                                                                    0 Other



Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page   2

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 Debtor   1     Therese Renee Whitten                                                                           Case number (if known>




7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.


      •       No
              Yes. List all payments to an insider.

       Insider’s Name and Address                                   Dates of payment             Total amount          Amount you         Reason for this payment
                                                                                                         paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

      I       No
      D       Yes. List all      payments to   an insider
       Insider’s Name and Address                                   Dates of payment             Total amount          Amount you          Reason for this payment
                                                                                                         paid            still owe         Include creditor’s name

ITit Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

      DN0
      • Yes. Fill in the details.
       Case title                                                   Nature of the case           Court or agency                           Status of the case
       Case number
       Portfolio Recovery Associates,                                                            Superior Court of California              •   Pending
       LLC vs. Theresa Renee Whitten                                                             County of Los Angeles                     D   On appeal
       19CHLC44234                                                                               9425 Penfield Avenue                      D   Concluded
                                                                                                 Chatsworth, CA 91311


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

      •       No. Go to line 11.
              Yes. Fill in the information below.
       Creditor Name and Address                                    Describe the Property                                          Date                         Value of the
                                                                                                                                                                   property
                                                                    Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
    • No
      D       Yes.    Fill   in the details.

       Creditor Name and Address                                    Describe the action the creditor took                          Date action was                  Amount
                                                                                                                                   taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?
      •       No
              Yes




Official Form   107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page   3
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                                                  -                                                                                                         Best Case Bankruptcy
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Debtor 1       Therese Renee Whitten                                                                        Case number         known)




l1L           List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
    •No
    D Yes. Fill in the details for each gift.
    Gifts with a total value of more than $600         Describe the gifts                                Dates you gave                                         Value
    per person                                                                                           the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
    •No
    D Yes. Fill in the details for each gift or contribution.
    Gifts or contributions to charities that total          Describe what you contributed                 Dates you                       Value
    more than $600                                                                                        contributed
    Charity’s Name
       Address (Number, Street, City, State and ZIP Code)


IIil List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

      No
       Yes. Fill in the details.
       Describe the property you lost and                    Describe any insurance coverage for the loss                        Date of your      Value of property
       how the loss occurred                                                                                                     loss                           lost
                                                             Include the amount that insurance has paid. List pending
                                                             insurance claims on line 33 of Schedule A/B: Property.

IThW List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      No
      • Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                      Date payment             Amount of
       Address                                                        transferred                                                or transfer was           payment
       Email or website address                                                                                                  made
       Person Who Made the Payment, if Not You
       Law Offices of Michael Jay Berger                              Attorney Fees                                              11/2012019               $2,000.00
       9454 Wilshire Boulevard, 6th floor
       Beverly Hills, CA 90212
       michael.berger@bankruptcypower.com



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

      •      No
             Yes. Fill in the details.
       Person Who Was Paid                                             Description and value of any property                     Date payment             Amount of
       Address                                                         transferred                                               or transfer was           payment
                                                                                                                                 made




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page   4

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 Debtor 1     Therese Renee Whitten                                                                       Case number   (if known)




18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
      UNo
            Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                  Describe any property or            Date transfer was
      Address                                                      property transferred                      payments received or debts          made
                                                                                                             paid in exchange
       Person’s relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
    B No
      D     Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                             Date Transfer was
                                                                                                                                                 made

imj:         List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
    • No
      D     Yes. Fill in the details.
      Name of Financial Institution and                        Last 4 digits of             Type of account or      Date account was                  Last balance
      Address (Number, Street, city, State and ZIP             account number               instrument              closed, sold,                 before closing or
      code)                                                                                                         moved, or                              transfer
                                                                                                                    transferred

21.   Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
      cash, or other valuables?

      •     No
      D     Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents                    Do you still
      Address (Number, Street,    city, State and ZIP code)        Address (Number, Street, city,                                                  have it?
                                                                   State and ZIP codel

22.   Have you stored property in a Storage unit or place other than your home within 1 year before you filed for bankruptcy?

      •No
      D     Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access             Describe the contents                   Do you still
      Address (Number, Street,    city, State and ZIP Code)        to it?                                                                         have it?
                                                                   Address     (Number, Street, City,
                                                                   State and ZIP Code)

I1T4         Identity Property You Hold or Control for Someone Else

23.   Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
      for someone.

      •     No
      D     Yes. Fill in the details.
      Owner’s Name                                                 Where is the property?                 Describe the property                                Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

ITiL’ Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

•     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
Officia) Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 5
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                                             -                                                                                                      Best Case Bankruptcy
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 Debtor 1       Therese Renee Whitten                                                                             Case number   (if known)




      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
•     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
•     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.   Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

      •     No
            Yes. Fill in the details.
       Name of site                                                Governmental unit                                 Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address (Number, Street,     City, State and      know it
                                                                   ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

      •     No
      D     Yes. Fill in the details.
       Name of site                                                Governmental unit                                 Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)          Address     (Number, Street, City, State and      know it
                                                                   ZIP Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

      •No
      D     Yes. Fill in the details.
       Case Title                                                  Court or agency                                Nature of the case                   Status of the
       Case Number                                                 Name                                                                                case
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

I’TiI Give Details About Your Business or Connections to Any Business                                                                                 —___________




27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
            D   A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

            D   A member of a limited liability company (LLC) or limited liability partnership (LLP)

            D   A partner in a partnership

            D   An officer, director, or managing executive of a corporation

            D   An owner of at least 5% of the voting or equity securities of a corporation

      D     No. None of the above applies. Go to Part 12.

      I     Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                           Describe the nature of the business                     Employer Identification number
      Address                                                                                                         Do not include Social Security number or ITIN.
       (Number. Street, City, State and ZIP Code)             Name of accountant or bookkeeper
                                                                                                                      Dates business existed
       THERESES ART PIECES                                    Entertainment Building/Painting
                                                                                   -
                                                                                                                      EIN:         XX-XXXXXXX
      4617 Dockweiler Street
                                                              Michelle Robinson, MBA                                  From-To      January 2017 to February 2019
       Los Angeles, CA 90019




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 6
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                                                                                    Case number (if kOown)
 Debtor I      Therese Renee Whitten



28. WIthin 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? iriclude all financial
    Institutions, creditors, or other parties.

      RN0
      I] Yes. Fill in the details below.
        Name                                                   Date Issued
        Address
        (Number, Sttee(, City, Slit, and ZIP Cod.)

              Sl9nBetow

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct, I understand that making a false statement, concealing property, or obtaining money or property bf fraud in connection
with a bankruptcy case can result in fines up to $250,000, or Imprisonment for up to 20 years, or both.
18 U. C § l525344.i458. an 3571


 Therese Renee                I en
                                   hJLI3tthW*7                         Signature of Debtor 2
 Signature of Debtor I

 Date                                                                  Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
• No
ID Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
• No
ID Yes. Name of Person        Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).
                                        .




Offic(aI Form 107                                    Statement of Financial Affairs   for individuala Filing for Bankruptcy                     page 7
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                                                .                                                                                  Best Case Bankruptcy
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                                                                                                                 ____        ____




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Fill in this information to identify your case:

Debtor 1                        Therese Renee Whitten
                                First Name                      Middle Name               Last Name

Debtor 2
(Spouse if, filing)             First Name                      Middie Name               Last Name


United States Bankruptcy Court for the:                   CENTRAL DISTRICT OF CALIFORNIA

Case number
(if known)                                                                                                                           Q Check if this is an
                                                                                                                                           amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15


If you are an individual filing under chapter 7, you must fill out this form if:
• creditors have claims secured by your property, or
• you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

Iflhi          List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part I of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                                              secures a debt?                                       as exempt on Schedule C?


    Creditor’s         Toyota Motor Credit                                      Surrender the property.                              • No
    name:                                                                       Retain the property and redeem it.
                                                                                Retain the property and enter into a                      Yes
    Description of             2016 Lexus RX350 14300 miles                     Reaffirmation Agreement.
    property                   Location: 4617 Dockweiler St,                  • Retain the property and [explain]:
    securing debt:             Los Angeles CA 90019                            Debtor will continue to make car
                                                                              oavm ents

IIi1       List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1 06G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor’s name:                                                                                                                D No
 Description of leased
 Property:                                                                                                                          Yes

 Lessor’s name:                                                                                                                DNo
 Description of leased
 Property:                                                                                                                     EJ Yes


Official Form 108                                            Statement of Intention for Individuals Filing Under Chapter 7                                     page 1

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Debtor 1                                                                                   Case number {iFow)
             Therese Renee Whitten



Lessor’s name:                                                                                                  D   No
Description of leased
Property:                                                                                                       D   Yes


Lessor’s name:                                                                                                  0   No
Description of leased
Property:                                                                                                       o   Yes


Lessor’s name:                                                                                                  0   No
Description of leased
Property:                                                                                                       0   Yes


Lossr’s name:                                                                                                   0   No
DescriPtion of leased
Property:                                                                                                       0   Yes


Lessor’s name:                                                                                                  0   No
Description of teased
Property:                                                                                                       0   Yes


             Sign Below

                                                                                        of my estate that secures a debt and any personal
Under penalty of perjury,! declare that! have indicated my intention about any property
property that Is subjectj aLurnepire)i lea

X      //L//                                        4,                    x   .
                                                                                                 ....




                                                                              Signature of Debtor 2
     Therese Renee Whifton
     Signature of Debtor 1

      Date                                                                Date




Qmcia! Form 108                               Statement of Intention for Individuals Filing Under Chapter 7                            page 2
                                                                                                                             Rast Case 8-kptc-1
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                                  Chapter 7:         Liquidation
This notice is for you if:
                                                                                                          $245   filing fee
        You are an individual filing for bankruptcy,
        and                                                                                                $75   administrative fee

        Your debts are primarily consumer debts.                                                  +        $15   trustee surcharqe
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as incurred by an individual                                                             $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                                       Chapter 7 is for individuals who have financial
                                                                                                  difficulty preventing them from paying their debts
                                                                                                  and who are willing to allow their nonexempt
                                                                                                  property to be used to pay their creditors. The
The types of bankruptcy that are available to
                                                                                                  primary purpose of filing under chapter 7 is to have
individuals
                                                                                                  your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                            relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                                many of your pre-bankruptcy debts. Exceptions exist
                                                                                                  for particular debts, and liens on property may still
        Chapter 7       -   Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                                  may have the right to foreclose a home mortgage or
        Chapter 11          -   Reorganization                                                    repossess an automobile.

        Chapter 12          -Voluntary repayment plan                                             However, if the court finds that you have committed
                            for family farmers or                                                 certain kinds of improper conduct described in the
                            fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                                  discharge.
        Chapter 13 Voluntary repayment plan
                            -




                   for individuals with regular                                                   You should know that even if you file chapter 7 and
                   income                                                                         you receive a discharge, some debts are not
                                                                                                  discharged under the law. Therefore, you may still
                                                                                                  be responsible to pay:
You should have an attorney review your
                                                                                                      most taxes;
decision to file for bankruptcy and the choice of
chapter.
                                                                                                      most student loans;

                                                                                                      domestic support and property settlement
                                                                                                      obligations;




Notice Required by 11 U.S.C.       § 342(b) for Individuals Filing   for Bankruptcy (Form 2010)                                                       page 1
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      most fines, penalties, forfeitures, and criminal                                    your income is more than the median income for your
      restitution obligations; and                                                        state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
      certain debts that are not listed in your bankruptcy                                administrator, or creditors can file a motion to dismiss
      papers.                                                                             your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
      fraud or theft;                                                                     Code.

      fraud or defalcation while acting in breach of                                      If you are an individual filing for chapter 7 bankruptcy,
      fiduciary capacity;                                                                 the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
      death or personal injury caused by operating a                                      bankruptcy trustee sells or liquidates that you are
      motor vehicle, vessel, or aircraft while intoxicated                                entitled to, is called exempt property. Exemptions may
      from alcohol or drugs.                                                              enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A—1) if you are an                                       as Exempt (Official Form 1 06C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                       Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A—2).
                                                                                                          $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                                +          $550    administrative fee
Calculation (Official Form 122A—2). The calculations on                                                   $1,717    totalfee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on                                              Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay                                        but is also available to individuals. The provisions of
unsecured creditors. If                                                                       chapter 11 are too complicated to summarize briefly.




                                                                                (Form 2010)                                                            page 2
Notice Required by 11   u.s.c. § 342(b) for Individuals Filing for Bankruptcy
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        Read These Important Warnings

            Because bankruptcy can have serious long-term financial and legal consequences, including loss of
            your property, you should hire an attorney and carefully consider all of your options before you file.
            Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
            and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
            properly and protect you, your family, your home, and your possessions.

            Although the law allows you to represent yourself in bankruptcy court, you should understand that
            many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
            or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
            following all of the legal requirements.

            You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
            necessary documents.

            Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
            bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
            fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
            20 years, or both. 18 U.S.C. § 152, 1341, 1519, and 3571.



                                                                                               Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                          to repay your creditors all or part of the money that
            farmers or fishermen                                                               you owe them, usually using your future earnings. If
                                                                                               the court approves your plan, the court will allow you
                                                                                               to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                       years or 5 years, depending on your income and other
+                   $75       administrative fee                                               factors.
                   $275       total fee
                                                                                               After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                       many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                       not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                         pay include:
are not paid.
                                                                                                      domestic support obligations,

                                                                                                      most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                                  certain taxes,
            income
                                                                                                      debts for fraud or theft,

                   $235       filing fee                                                              debts for fraud or defalcation while acting in a
+                   $75       administrative fee                                                      fiduciary capacity,
                   $310       total fee
                                                                                                      most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                                   certain debts that are not listed in your
installments over a period of time and to discharge                                                   bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                               certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                          personal injury, and

                                                                                                      certain long-term secured debts.




Notice Required by 11    u.s.c. §   342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3

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                                                                                               A married couple may file a bankruptcy case
              Warning: File Your Forms on Time                                                 together—called a joint case. If you file a joint case and
                                                                                               each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                        bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                             mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                          unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                       each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                                 Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                           credit counseling agencies

 For more information about the documents and                                                  The law generally requires that you receive a credit
 their deadlines, go to:                                                                       counseling briefing from an approved credit counseling
 http://www. uscou rts. gov/bkformslbankruptcy form                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
 s. html#procedure.                                                                            case, both spouses must receive the briefing. With
                                                                                               limited exceptions, you must receive it within the 180
                                                                                               days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                                   briefing is usually conducted by telephone or on the
                                                                                               Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                        In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                              must complete a financial management instructional
        connection with a bankruptcy case, you may be                                          course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                            filing a joint case, both spouses must complete the
                                                                                               course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                       You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                      both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                     http://justice.gov/ustleo/hapcpa/ccde/cc approved. html
        other offices and employees of the U.S.
        Department of Justice.
                                                                                               In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                                  http://www. uscourts.gov/FederalCourts/Ban kruptcy/
                                                                                               BankruptcyResources/ApprovedCred it
The bankruptcy court sends notices to the mailing                                              AndDebtCounselors.aspx.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                           If you do not have access to a computer, the clerk of
that you receive information about your case,                                                  the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                        the list.
of any changes in your address.




Notice Required by 11 U.S.C.    § 342(b) for Individuals   Filing for Bankruptcy (Form 2010)                                                           page 4

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B2030 (Form 2030) (12/15)
                                                             United States Bankruptcy Court
                                                                Central District of California
 In re        Therese Renee Whitten                                                                            Case No,
                                                                                  Debtor(s)                    Chapter     7


                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to II U S.C. § 329(a) and Fed. Bankr. P. 20 16(b), 1 certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
               For legal services, I have agreed to accept                                                 $                   2,000.00
               Prior to the filing of this statement I have received                                      $                    2,000.00
               Balance Due                                                                                 $                      0.00

2.       $    335.00     of the filing fee has been paid.

3.       The source of the compensation paid to me was:
               •   Debtor          D     Other (specify):

4.       The source of compensation to be paid to me is:
               •   Debtor                Other (specify):

5.       N I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         D I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
           copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

         a.   Analysis of the debtors financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy:
         b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required:
         c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
         d.   [Other provisions as needed]


7.       By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                   Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
                   any other adversary proceeding.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     Februy 14, 2020                                                              IsI Michaeyger
     Date                                                                         Michael Jay Berger
                                                                                  Signature ofAttorney
                                                                                  Law Offices of Michael Jay Berger
                                                                                  9454 Wilshire Boulevard, 6th floor
                                                                                  Beverly Hills, CA 90212
                                                                                  (310) 271-6223 Fax: (310) 271-9805
                                                                                  michael.bergbankruptcypower.com
                                                                                  Name of law Jirm




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Fill in this information to identify your case:                                                               Check one box only as directed in this form and in Form
                                                                                                              122A-lSupp:
Debtor 1               Therese Renee Whitten
                                                                                                                  0 1. There is no presumption of abuse
Debtor 2
(Spouse, if filing)
                                                                                                                      2. The calculation to determine if a presumption of abuse
United States Bankruptcy Court for the:                  Central District of California                                   applies will be made under Chapter 7 Means Test
                                                                                                                          Calculation (Official Form 122A-2).
Case number                                                                                                       0 3. The Means Test does not apply now because of
(yknown)
                                                                                                                          qualified military service but it could apply later.
                                                                                                                   0 Check if this is an amended filing

Official Form 122A 1
                                                ome                                                                                                                                    12119
Chapter 7 Statement of Your Current Monthly Inc
                                                                                                         responsible for being accurate. If more space is needed,
                                                  married people are filing together, both are equally
Be as complete and accurate as possible. If two               r to which the additio nal inform ation applies. On the top of any additional pages, write your name
                                                                                                                                                                     and
                                                  line numbe
attach a separate sheet to this form. Include the                from a presum ption  of abuse  becaus  e you do not have primarily consumer debts or becaus
                                                                                                                                                                e of
                                                 are exemp  ted
case number (if known). If you believe that you                                                                       (2) (Official Form 122A-lSupp) with this form.
                                                      ent of Exemption from Presumption of Abuse Under 707(b)
qualifying military service, complete and file Statem

 -.           Calculate Your Current Monthly Income
                                                          one only.
   1.      What is your marital and filing status? Check
           I Not married. Fill out Column A, lines 2-1 1.
                                                                     Fill out both Columns A and B, lines 2-11.
           0    Married and your spouse is filing with you.
                                                                              You and your spouse are:
           0    Married and your spouse is NOT filing with you.
                                                                                           ted. Fill out both Columns A and B, lines 2-11.
               0 Living in the same household and are not legally separa                                                                             checking this box, you declare under
                                                                                          n A, lines 2-11; do not fill out Column B. By
               0 Living separately or are legally separated. Fill out Colum         separated under nonbankruptcy law that                   applies    or that you and your spouse are
                   penalty of perjury that you and your spouse are legally                                                               707(b)   (7)(B).
                                                                              g the Means Test       require  ments.     11  U.S.C    §
                    living apart for reasons that do not include evadin
                                                                                                                                                 file this bankruptcy case. 11 U.S.C. §
                                            e  that you receive d from    all source s, derived during the 6 full months before you                     t of your monthly income varied during
        Fill in the average monthly incom                                                             March   1  throug  hAugu  st  31. If the amoun
                                                                15, the 6-month period would be
        1O1(loA). For example, if you are tiling on September                                              not  includ e any  incom  e  amoun   t more    than once. For example. if both
                                                            divide the total by 6. Fill in the result. Do
        the 6 months, add the income for all 6 months and                                           n  only. If you  have   nothin g to report  for  any   line, write $0 in the space.
                                                        income from that property in one colum
        spouses own the same rental property, put the
                                                                                                                      Column A                    Column B
                                                                                                                      Debtor I                    Debtor 2 or
                                                                                                                                                  non-filing spouse

                                                            e, and commissions (before all
      2.   Your gross wages, salary, tips, bonuses, overtim                                $                                     6,296.93         $
            payroll deductions).
                                                               include payments from a spouse if
      3. Alimony and maintenance payments. Do not                                                       $                              0.00       $
          Column B is filled in.
                                                                  ly paid for household expenses
      4. All amounts from any source which are regular
                    or your depend   ents, includ ing  child suppor    t. Include regular contributions
          of you                                                           your dependents, parents,
                          ried  partner , membe rs of your  househ   old,
          from an unmar                                                         only if Column B is not
                                    e         contrib utions from   a  spouse                                                          0.00
          and roommates, Includ regular                                                                 $                                          $
          filled in. Do not include payments you listed    on  line 3.
                                                                   ion, or farm
      5. Net income from operating a business, profess
                                                                                       Debtor I
                                                                             $      0.00
          Gross receipts (before all deductions)
                                                expens   es                 -$      0.00
          Ordinary and necessary operating                                                                                              0.00       $
                                                                      farm $        0.00 Copy here -> $
           Net monthly income from a business, profession, or
                                                                ty
       6. Net income from rental and other real proper
                                                                                        Debtor I
                                                                              $     0.00
           Gross receipts (before all deductions)
                                                                            -$      0.00
           Ordinary and necessary operating expenses                                                                                    0.00          $
                                                                     ty      $       0.00 Copy here -> $
           Net monthly income from rental or other real proper                                                                          0.00          $
                                                                                                          $
       7. Interest, dividends, and royalties




                                                                                                                     e                                                                page I
   Official Form 122A-1                                            Chapter 7 Statement of Your Current Monthly Incom                                                       Best Case Bankruptcy
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   Oeor i      Therese Renee Whitten                                                                      Case numbei (if known)



                                                                                                      Column A                     Column B
                                                                                                      Debtor I                     Debtor 2 or
                                                                                                                                   non-filing Spouse
    8. Unemployment compensation                                                                      $                  0.00      $
         Do not enter the amount if you contend that the amount received was a benefit under
        the Social Security Act. Instead, list it here:
            For you                                              $                      0.00
            For your spouse                                      $
    9. Pension or retirement Income. Do not include any amount received that was a
        benefit under the Social Security Act. Also, except as stated in the next sentence, do
        not include any compensation, pension, pay, annuity, or allowance paid by the
        United States Government in connection with a disability, combat-related injury or
        disability, or death of a member of the uniformed services. If you received any retired
        pay paid under chapter 61 of title 10, then include that pay only to the extent that it
        does not exceed the amount of retired pay to which you would otherwise be entitled                               .
        if retired under any provision of title 10 other than chapter 61 of that title.         $                        V.UU      $
    10, Income from all other sources not listed above. Specify the source and amount.
        Do not include any benefits received under the Social Security Act; payments
        received as a victim of a war crime, a crime against humanity, or international or
        domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
        United States Government in connection with a disability, combat-related Injury or
        disability, or death of a member of the uniformed services. it necessary, list other
        sources on a separate page and put the total below.
                                                                                                $                        0.00      $
                                                                                                                         0.00      $
                   Total amounts from separate pages, if any.                                                            0.00      $

   11. Calculate your total current monthly Income. Add lines 2 through 10 for
       eachcolumfl. Then add thetotalforColumnAtothetotalforColumn B.                         $     5,412.41            +$                      —J
                                                                                                                                                fl $             5,412.41

                                                                                                                                                         Total current monthly   -




                                                                                                                                                         Income
                 Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       I 2a. Copy your total current monthly income from line 11                                                Copy line 11 here>                              541 2.41

               Multiply by 12 (the number of months in a year)                                                                                       -    x   12
       12b. The result is yourannual income for this part of the form                                                                    12b.    $            64,948.92

   13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.                          [        CA

       Fill in the number of people in yourhousehold.                          I
       Fill in the median family income for your state and size of household.                                                            13      $            59,286.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
   14. How do the lines compare?
       14a. D Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                  Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.      •Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                  Go to Part 3 and fill out Form 122A—2.
                Sign Below
             By slgnin       re, I declare un        enal   of p rjury t a the information on this statement and in any attachments is true and correct.

                                                         TdLJ5
                2esZ
                Signature of Oebto I
        Date               /7/22
Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                                           page 2
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Debtor 1    Therese Renee Whitten                                                               Case number (if known)


                MM/DD /YYYY
            If you checked line 14a, do NOT fill out or file Form 122A2.
            If you checked line 14b, fill out Form 1 22A-2 and file it with this form.




Official Form 1 22A-1                                    Chapter 7 Statement of Your Current Monthly Income                       page 3
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Fill in this information to identify your case:                                                                Check the appropriate box as directed in
                                                                                                               lines 40 or 42:
Debtor 1          Therese Renee Whitten
                                                                                                                 Accorctng to the calculations required by this
                                                                                                                 Statement:
Debtor 2
(Spouse, if filing)
                                                                                                                  U 1. There is no presumption of abuse.
United States Bankruptcy Court for the:           Central District of California
                                                                                                                  D 2. There is a presumption of abuse.
Case number
(if known)
                                                                                                                  Check if this is an amended filing

Official Form 122A -2
                                                                                                                                                              04119
Chapter 7 Means Test Calculation
                                                                   r 7 Statement of Your Current Monthly Income (Official Form I 22A-I).
To till out this form, you will need your completed copy of Chapte

                                                                      filing together, both are equally responsible for being accurate. If more
Be as complete and accurate as possible. If two married people are
                                                                   line  number to which additional information applies. On the top any
space is needed, attach a separate sheet to this form, Include the
additional pages, write your name and case   numbe  r (if known).


              Determine Your Adjusted Income

                                                                             Copy line 11 from Official Form 122A-1 here=>            $               6,296.93
 1.    Copy your total current monthly income

 2.    Did you fill out Column B in Part I of Form 122A-I?
       U No. Fill in $0 for the total on line 3.
       U Yes. Is your spouse Filing with you?
         U No.       Go to line 3.
         U Yes.       Fill in $0 for the total on line 3.

                                                                      your spouse’s income not used to pay for the
 3.    Adjust your current monthly income by subtracting any part of
       household expenses of you or your depend ents.  Follow these steps:

                                                                        you reported for your spouse NOT regularly used for the household
       On line 11 Column B of Form 1 22A—1 was any amount of the income
       expenses of you or your depend ents?


       U No. Fill in 0 for the total on line 3.
       U Yes. Fill in the information below:
                                                                                                   Fill in the amount you
              State each purpose for which the income was used
                                                                                                   are subtracting from
              For example, the income is used to pay your spouse’s tax debt or to                  your spouse’s income
              support other than you or your dependents.
                                                                                              $

                                                                                              $

                                                                                              $

                                                                                               $               0.00
                      Total.
                                                                                                                      Copy total here>...   -   $            0.00



  4.    Adjust your current monthly income. Subtract line 3 from line 1.




                                                                                                                                                           page 1
 Official Form 122A-2                                                Chapter 7 Means Test Calculation
                                                                                                                                                    Best Case Bankruptcy
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Debtor 1     Therese Renee Whitten                                                                    Case number(if known)



Tit              Calculate Your Deductions from Your Income

   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts
   to answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate
   instructions for this form. This information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of
   your actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted fro your spouses
   income in line 3 and do not deduct any operating expenses that you subtracted from in income in lines 5 and 6 of form 122A-1.

   If your expenses differ from month to month, enter the average expense.

   Whenever this part of the from refers to you, it means both you and your spouse if Column B of Form 1 22A-1 is filled in


   5.      The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                              I
           the number of people in your household.



   National Standards                       You must use the IRS National Standards to answer the questions in lines 6-7.



   6.      Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National                                       727.00
                                                                                                                                             $
           Standards, fill in the dollar amount for food, clothing, and other items,


   7.      Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health care costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.



   People who are under 65 years of age

           la.    Out-of-pocket health care allowance per person              $            55.00

           7b.    Number of people who are under 65                          X              I

           7c.    Subtotal. Multiply line 7a by line 7b.                      $             55.00      Copy here>        $           55.00



    People who are 65 years of age or older

           7d.    Out-of-pocket health care allowance per person              $            114.00

           7e.    Number of people who are 65 or older                        X              0

           7f.    Subtotal. Multiply line 7d by line 7e.                      $              0.00      Copy here=>       e$




           7g. Total. Add line 7c and line 7f                                                                                 Copy total here>
                                                                                                    Eo




Official Form 122A-2                                                   Chapter 7 Means Test Calculation                                                  page 2
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 Debtor 1     Therese Renee Whitten                                                                     Case number (if known)



    Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.


    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:

    I Housing and utilities Insurance and operating expenses
                                     -




    I Housing and utilities Mortgage or rent expenses
                                     -




    To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

    To find the chart, go online using the link specified in the separate instructions for this form.
    This chart may also be available at the bankruptcy clerks office.


    8.      Housing and utilities Insurance and operating expenses: Using the number of people you entered in line 5, fill
                                         -


            in the dollar amount listed for your county for insurance and operating expenses                                            $                 517.00

    9.      Housing and utilities        -   Mortgage or rent expenses:

            9a.    Using the number of people you entered in line 5, fill in the dollar amount
                   listed for your county for mortgage or rent expenses                                                      $   1,741.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.

                   To calculate the total average monthly payment, add all amounts that are
                   contractually due to each secured creditor in the 60 months after you file
                   for bankruptcy. Then divide by 60.

                   Name of the creditor                                           Average monthly
                                                                                  payment

                   -NONE-                                                          $


                                                                                                                                           Repeat this
                                                                                                           Copy                            amount on
                                             Total average monthly payment         $             0.00      here=>       -$            0.00 line 33a.


            9c.    Net mortgage or rent expense.

                   Subtract line 9b (total average monthly payment) from line 9a (mortgage                                           Copy
                   or rent expense). If this amount is less than $0, enter so                                $           1,741.00    here=>   $          1,741.00



    10.     If you claim that the U.S. Trustee Programs division of the IRS Local Standard for housing is incorrect and
            affects the calculation of your monthly expenses, fill in any additional amount you claim.                                        $              0.00

             Explain why:

    11.     Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

            C 0. Go to line 14.
            • 1.Goto line 12.

            C 2 or more. Go to line 12.

    12.     Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
            operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.               $           273.00




Official Form 122A-2                                                    Chapter 7 Means Test Calculation                                                  page 3
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Debtor 1     Therese Renee Whitten                                                                   Case number (if known)



    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.


     Vehicle I         Describe Vehicle 1:         2016 Lexus RX350 14300 miles Location: 4617 Dockweiler St,
                                                   Los Angeles CA 90019

    13a. Ownership or leasing costs using IRS Local Standard                                                  $             508.00

    13b. Average monthly payment for all debts secured by Vehicle 1.
         Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 1 3e, add all amounts that
           are contractually due to each secured creditor in the 60 months after you filed for
           bankruptcy. Then divide by 60.

                Name of each creditor for Vehicle 1                             Average monthly
                                                                                payment

                Toyota Motor Credit                                             $          731.00


                                          Total Average Monthly Payment                    731.00
                                                                                                     1 Copy                      731.00
                                                                                                                                          Repeat this
                                                                                                                                          amount on
                                                                                                         here     >    -$                 line 33b




    13c. Net Vehicle 1 ownership or lease expense
         Subtract line 13b from line 13a. if this amount is less than $0, enter $0.
                                                                                                                                                                     0.00




     Vehicle 2         Describe Vehicle 2:


    13d. Ownership or leasing costs using IRS Local Standard                                                  $               0.00

    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                Name of each creditor for Vehicle 2                             Average monthly
                                                                                payment

                                                                                 $

                                                                                                         Copy



                                                                                H
                                                                                                                                        Repeat this
                                                                                                         here                           amount on
                                          Total Average Monthly Payment                                  =>       -$             0.00   tine 33c.




    13f, Net Vehicle 2 ownership or lease expense
         Subtract line 1 3e from line 1 3d. if this amount is less than $0, enter $0
                                                                                                                                                                     0.00



    14.    Public transportation expense: If you claimed 0 vehicles in line 11 using the IRS Local Standards, fill in the Public
           Transportation expense allowance regardless of whether you use public transportation.                                                      $              0.00

    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                                         $              0.00




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 Debtor 1     Therese Renee Whitten                                                                      Case number (if known)




    Other Necessary Expenses                 In addition to the expense deductions listed above, you are allowed your monthly expenses fc r
                                             the following IRS categories.

    16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
        your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
        and subtract that number from the total monthly amount that is withheld to pay for taxes.
            Do not include real estate, sales, or use taxes.                                                                                 $        1,256.02

    17.     Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
            contributions, union dues, and uniform costs.
            Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.             $           725.65

    18.     Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
            filing together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
            insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than
            term.                                                                                                                           $               0.00

    19.     Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
            administrative agency, such as spousal or child support payments.
            Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $               0.00

    20.     Education: The total monthly amount that you pay for education that is either required:
            • as a condition for your job, or
            • for your physically or mentally challenged dependent child if no public education is available for similar services.           $              0.00

    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
        Do not include payments for any elementary or secondary school education.                                                            $              0.00

    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
            Payments for health insurance or health savings accounts should be listed only in line 25.                                       $              0.00

    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
        for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
        phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
        income, if it is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.                      $                   0.00



    24. Add all of the expenses allowed under the IRS expense allowances.                                                                $         5,294.67
        Add lines 6 through 23.                                                                                                         L            .         —




Official Form 122A-2                                                      Chapter 7 Means Test Calculation                                               page 5
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Debtor 1        Therese Renee Whitten                                                                      Case number (if known)



   Additional Expense Deductions                      These are additional deductions allowed by the Means Test.
                                                      Note: Do not include any expense allowances listed in lines 6-24.

    25.    Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
           insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
           your dependents.
           Health insurance                                                     $         0.00
           Disability insurance                                                 $        60.93
           Health savings account                                           +   $         0.00


           Total                                                                                      Copy total here>                $            60.93


           Do you actually spend this total amount?

           Li          No. How much do you actually spend?
                                                                                $
           •
                      Yes




    26.    Continued contributions to the care of household or family members. The actual monthly expenses that you will
           continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
           your household or member of your immediate family who is unable to pay for such expenses. These expenses may
                                                                                                                                      $              000
           include contributions to an account of a qualified ABLE program. 26 U.S.C. 529A(b).
    27.    Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
           safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply
                                                                                                                                      $              0.00
           Bylaw, the court must keep the nature of these expenses confidential.
    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
        line 8.

           If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
           8, then fill in the excess amount of home energy costs.

           You must give your case trustee documentation of your actual expenses, and you must show that the additional
                                                                                                                                      $              0.00
           amount claimed is reasonable and necessary.
    29.    Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
           $1 70.83* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
           public elementary or secondary school.

           You must give your case trustee documentation of your actual expenses, and you must explain why the amount
           claimed is reasonable and necessary and not already accounted for in lines 6-23.

          Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.
           *                                                                                                                          $

    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.

           To find a chart showing the maximum additional allowance, go online using the link specified in the separate
           instructions for this form. This chart may also be available at the bankruptcy clerk’s office.
                                                                                                                                      $              0.00
           You must show that the additional amount claimed is reasonable and necessary.
    31.    Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                     0.00
           instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).                                          $



    32. Add all of the additional expense deductions.
        Add lines 25 through 31.
                                                                                                                                      r


Official Form 122A-2                                                   Chapter? Means Test Calculation                                            page 6
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Debtor I      Therese Renee Whitten                                                                                 Case number (if known)



   Deductions for Debt Payment

   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.

              Mortgages on your home:                                                                                                                         AvG rage monthly
                                                                                                                                                                pay rnent
   33a.       Copy line 9b here                                                                                                                     =>        $                     0.00
              Loans on your first two vehicles:
   33b.       Copy line 13b here                                                                                    -                                >        $

   33c.       Copy line 13e here                                                                                                                     >        $                     0.00

   33d.       List other secured debts:
   Name of each creditor for other secured debt                      Identify property that secures the debt                        Does payment
                                                                                                                                   include taxes or
                                                                                                                                   insurance?

                                                                                                                                     No
             -NONE-                                                                                                                          Yes              $

                                                                                                                                     DNo
                                                                                                                                             Yes              $

                                                                                                                                     No
                                                                                                                                             Yes


                                                                                                                                                         Copy

    33e.     Total average monthly payment. Add lines 33a through 33d                                                    $              731 .0                    >       $       731.00


    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?
           • No.     Go to line 35.
             Yes.    State any amount that you must pay to a creditor, in addition to the payments
                     listed in line 33, to keep possession of your property (called the cure amount).
                     Next, divide by 60 and fill in the information below.

     Name of the creditor                                    Identify property that secures the debt                             Total cure                               Monthly cure
                                                                                                                                 amount                                   amount

     -NONE-                                                                                                                  $                      ÷60w $


                                                                                                                                                         Copy
                                                                                                                                                     I   total
                                                                                                               Total $                                                    $              0.00
                                                                                                                                             00J         =>



    35. Do you owe any priority claims such as a priority tax, child support, or alimony that                   -



        are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
           • No.     Go to line 36.
           D Yes. Fill in the total amount of all of these priority claims. Do not include current or
                     ongoing priority claims, such as those you listed in line 19.
                      Total amount of all past-due priority claims                                                       $                   0.00    ÷   60   =       $                  0.00




Official Form 122A-2                                                     Chapter 7 Means Test Calculation                                                                             page 7
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 Debtor 1       Therese Renee Whitten                                                                        Case number (if known)



    36. Are you eligible to file a case under Chapter 137 11 USC. § 109(e).
        For more information, go online using the link for Bankruptcy Basics specified in the separate
        instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerks office.

            • No.     Go to line 37.
            U Yes. Fill in the following information.
                      Projected monthly plan payment if you were filing under Chapter 13                           $
                      Current multiplier for your district as stated on the list issued by the
                      Administrative Office of the United States Courts (for districts in Alabama
                      and North Carolina) or by the Executive Office for United States Trustees
                      (for all other districts).                                                                x


                      To find a list of district multipliers that includes your district, go online using
                      the link specified in the separate instructions for this form. This list may also
                      be available at the bankruptcy clerk’s office.

                      Average monthly administrative expense if you were filing under Chapter 13



    37. Add all of the deductions for debt payment.                                                                                                       $          731.00
        Add lines 33e through 36.

    Total Deductions from Income

    38. Add all of the allowed deductions.
             Copy line 24, All of the expenses allowed under IRS
             expense allowances                                                         $               5,294.67
             Copy line 32, All of the additional expense deductions                     $                 60.93
             Copy line 37, All of the deductions for debt payment                   +$                   731.00


                                                               Total deductions         $               6,086.60       Copy total here          >     $              6,086.60


 Ti1’            Determine Whether There is a Presumption of Abuse

    39. Calculate monthly disposable income for 60 months
             39a. Copy line 4, adjusted current monthly income                          $               6,296.93
             39b. Copy line 38,Total deductions                                     -   $               6,086.60

             39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                    Copy
                  Subtract line 39b from line 39a                                       $                210.33        here>$                       210.33


             For the next 60 months (5 years)                                                                                            60


             39d. Total. Multiply line 39c by 60                                             39d.   $              12,619.80                        6180


    40. Find out whether there is a presumption of abuse. Check the box that applies:

            U The line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to Part 5.
            U The line 39d is more than $1 3,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You may fill out
                Part 4 if you claim special circumstances. Go to Part 5.

            • The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.
            *Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 122A-2                                                Chapter 7 Means Test Calculation                                                                    page 8
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 Debtor 1         Therese Renee Whitten                                                                     Case number (if known)




     41.          41 a.   Fill in the amount of your total nonpriority unsecured debt. If you filled out
                          A Summary of Your Assets and Liabilities and Certain Statistical In formation
                                                                                                                     $       64,790.97
                          Schedules (Official Form 1 O6Sum), you may refer to line 3b on that form
                                                                                                                         x     .25
                                                                                                                     I.
                  41b.    25%oryourtotal nonpriority unsecured debt. 11 U.S.C.          §   707(b)(2)(A)(i)(l)       $       16,197.74    hea>   $     16,197.74
                          Multiply line 41a by 0.25

     42. Determine whether the income you have left over after subtracting all allowed deductions is enough to pay
         25% of your unsecured, nonpriority debt.
         Check the box that applies:

            U Line 39d is less than line 41 b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
                  Go to Part 5.

                  Line 39d is equal to or more than line 41 b. On the top of page 1 of this form, check box 2, There is a
                  presumption of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.


  [Ti               Give Details About Special Circumstances

 43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income fr which there Is no
     reasonable alternative? 11 U.s.c. § 707(b)(2)(8).


      U     No. Go to Part 5.

      D     Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment for each
                 item. You may include expenses you listed in line 25.

                    You must give a detailed explanation of the special circumstances that make the expenses or income adjustments
                    necessary and reasonable. You must also give your case trustee documentation of your actual expenses or income
                    adjustments.



                     Give a detaIled explanation of the special circumstances                              Average monthly expense
                                                                                                           or Income adjustment



                                                                                                                 $
                                                                                                                 $

                                                                                                                 $

 r1L               SIgn Below
              By signin here, I declar                n lty of erjury     a the information on this statement and in any attachments is true and correct.


                   Theresa Renee Whltten
                   Signature 0) Debto,.r 1
           Date
                   MM/DD/YYY*’




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                        page 9
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Debtor 1       Therese Renee Whitten                                                             Case number(if known)




                                                Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 08/0112019 to 01/31/2020.

Line 2 Gross wages, salary, tips, bonuses, overtime, commissions
           -



Source of Income: ABC Studios
Income by Month:
 6 Months Ago:                   08/2019              $6,886.87
 5 Months Ago:                   0912019              $7,931.24
 4 Months Ago:                   1012019              $5,642.70
 3 Months Ago:                   1112019              $1,565.22
 2 Months Ago:                   12/2019                  $0.00
 Last Month:                     01/2020              $4,366.80
                      Average per month:              $4,398.81



Line 2 Gross wages, salary, tips, bonuses, overtime, commissions
           -



Source of Income: Entertainment Partners Enterprises LLC
Income by Month:
 6 Months Ago:                   08/2019              $3,984.39
 5 Months Ago:                   09/2019                  $0.00
 4 Months Ago:                   1012019                  $0.00
 3 Months Ago:                   11/2019              $4,330.86
 2 Months Ago:                   12/2019                  $0.00
 Last Month:                     0112020                  $0.00
                      Average per month:              $1,385.88



Line 2 Gross wages, salary, tips, bonuses, overtime, commissions
           -



Source of Income: New Caps, LLC
Income by Month:
 6 Months Ago:                   0812019                  $0.00
 5 Months Ago:                   0912019                  $0.00
 4 Months Ago:                   10/2019                  $0.00
 3 Months Ago:                   11/2019                $670.88
 2 Months Ago:                   12/2019                  $0.00
 Last Month:                     0112020              $1,992.50
                      Average per month:                $443.90



Line 2 Gross wages, salary, tips, bonuses, overtime, commissions
           -



Source of Income: Team Alternatives
Income by Month:
 6 Months Ago:                             0812019                         $410.02
 5 Months Ago:                             09/2019                           $0.00
 4 Months Ago:                             10/2019                           $0.00
 3 Months Ago:                             1112019                           $0.00
 2 Months Ago:                             1212019                           $0.00
 Last Month:                               01/2020                           $0.00
                                Average per month:                          $68.34




Official Form 122A-2                                              Chapter 7 Means Test Calculation                               page 10
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  Debtor 1       Therese Renee Whitten                                                                   Case number (if known)

 Line 10 Income from all other sources
             -




 Source of Income: Sedgwick Claims Managment Srvcs
 Income by Month:
  6 Months Ago:                   0812019                                         $0.00
  5 Months Ago:                   0912019                                         $0.00
  4 Months Ago:                   10/2019                                         $0.00
  3 Months Ago:                   11I2019                                         $0.00
  2 Months Ago:                   1212019                                         $0.00
  Last Month:                     01I2020                                         $0.00
                       Average per month:                                         $0.00




Official Form 1 22A-2                                                 Chapter 7 Means Test Calculation                                   page 11
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                                          Main Document    Page 60 of 62
  tAttney or Party Name, Address, Telephone & FAX N., [FOR COURT USE ONLY
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  California State Bar Number: 100291 CA
  inlchaeLbergerbankruptcypower.com




  D Debtor(s) appearing without an attorney
  AttomeyforDebtor                                  -     ..J    -




                                          UNITED STATES BANKRUPTCY COURT
                                           CENTRAL DISTRICT OF CALIFORNIA

  In re:
                                                                CASE NO.:
                Therese Renee Whitten
                                                                CHAPTER: 7



                                                                                  VERIFICATION OF MASTER
                                                                               MAILING LEST OF CREDITORS

                                                                                              [LBR 1007-1(a)J

                                                 Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor’s attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 2 sheet(s) Is complete, correct, and
consistent with the Debtor’s schedules and I/we assume all responsibili for err.3nmissioys.

 Date:                                                                                                  fit           ‘2Y2i
                                                                     Signature of Debtor

 Date:
                                                                     Signature of Debtor 2 (joint debtor) ) (if applicable)

 Date:          February 14, 2020                                      Is! Michael Jay Berger
                                                                     Signature of Attorney for Debtor (if applicable)




                     This fo   -                                      8arkruptcy Court for the Central Dstuict of California.          -________




December 2015                                                                F 1007-1 ,MAILING.LIST.VERIFICATION
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                   Pay Pal
                   Attention Legal Dept.
                   2211 N. First St.
                   Milpitas, CA 95036


                   Portfolio Recov Assoc
                   120 Corporate Blvd Ste 100
                   Norfolk, VA 23502


                   Syncb/ppc
                   P0 Box 965005
                   Orlando, FL 32896


                   The Golden 1 Credit Union
                   P.o. Box 279740
                   Sacramento, CA 95827


                   Toyota Motor Credit
                   111 W 22nd St
                   Oakbrook, IL 60521


                   University Foot & Ankle
                   Gary B. Briskin
                   2121 Wilshire Blvd., Ste 101
                   Santa Monica, CA 90403
